          Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 1 of 103




 1                                                THE HONORABLE BENJAMIN H. SETTLE
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 7
                          UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON
                                TACOMA DIVISION
 9

10                                                Case No. 19-cv-05514-BHS
     EVAN BROWN, Individually and on Behalf
11   of All Others Similarly Situated,
                                                  DECLARATION     OF    JUAN   E.
12                             Plaintiff,         MONTEVERDE IN SUPPORT OF LEAD
                                                  PLAINTIFF’S MOTION FOR FINAL
13         v.                                     APPROVAL OF SETTLEMENT AND
                                                  MOTION FOR ATTORNEYS’ FEES AND
14   PAPA MURPHY’S HOLDINGS, INC. and             EXPENSES AND SERVICE AWARD
     WELDON SPANGLER,
15
                               Defendants.
16

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     DECLARATION OF JUAN E.
     MONTEVERDE
     Case No. 19-cv-5514-BHS
                                              1
             Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 2 of 103




 1   I, Juan E. Monteverde, declare:
 2           1.    I am an attorney duly licensed to practice law in the State of New York, and I am
 3   admitted pro hac vice in the above-captioned action (“Action”).
 4           2.    I am the Founder and Managing Partner of Monteverde & Associates PC (“Lead
 5   Counsel” or “Monteverde”), Counsel for Lead Plaintiff, Evan Brown (“Lead Plaintiff”), and Lead
 6   Counsel for the Settlement Class in this Action.
 7           3.    I have personal knowledge of the facts set forth herein and if called as a witness,
 8   could and would testify competently to these facts under oath.
 9           4.    I submit this declaration in support of Lead Plaintiff’s Motion for Final Approval
10   of Settlement and Motion for Attorneys’ Fees and Expenses and Service Award.
11                                      Background of the Action
12           5.    On June 7, 2019, Lead Plaintiff filed this Action against Papa Murphy’s 1, its CEO
13   Weldon Spangler, the Company’s Directors, and its financial advisor, North Point (collectively,
14   the “Original Defendants”). ECF No. 1.
15           6.    On September 9, 2019, the Court granted Lead Plaintiff’s motion for appointment
16   as Lead Plaintiff pursuant to the PSLRA, and approved his selection of Monteverde as Lead
17   Counsel and Breskin Johnson Townsend, PLLC as Liaison Counsel. ECF No. 17.
18           7.    On November 8, 2019, Lead Plaintiff filed his Amended Complaint, and in
19   response, the Original Defendants filed their Motions to Dismiss on January 7, 2020. ECF No.
20   22, 25-26. On March 9, 2020, Lead Plaintiff filed his Opposition to the Original Defendants’
21   Motions to Dismiss, and also filed a Rule 41 Notice of Dismissal dismissing North Point. ECF
22   No. 29-31. The Original Defendants then filed their Reply to Lead Plaintiff’s Opposition on April
23

24

25   1
      All capitalized terms not defined herein have the same meanings as set forth in the Stipulation
     of Settlement, dated November 29, 2021 (“Stipulation”), and/or in Lead Plaintiff’s Motion for
26   Preliminary Approval of Settlement.

         DECLARATION OF JUAN E.
         MONTEVERDE
         Case No. 19-cv-5514-BHS
                                                    2
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 3 of 103




 1   8, 2020. ECF No. 32. On June 10, 2020, the Court granted the Original Defendants’ Motions to
 2   Dismiss without prejudice. ECF No. 35.
 3          8.     On July 10, 2020, Lead Plaintiff filed his Second Amended Complaint against only
 4   Papa Murphy’s and Weldon Spangler (“Defendants”). ECF No. 36. On August 24, 2020,
 5   Defendants filed a Second Motion to Dismiss the Second Amended Complaint. ECF No. 41.
 6   Lead Plaintiff responded with his Opposition to the Second Motion to Dismiss on October 8,
 7   2020, and then on November 2, 2020, Defendants filed their Reply. ECF No. 42, 44. On January
 8   12, 2021, Magistrate Judge Creatura issued his Report and Recommendation denying
 9   Defendants’ Second Motion to Dismiss, and the Report and Recommendation was then adopted
10   by the Court on April 22, 2021, despite Defendants Objections. ECF No. 47, 51, 57.
11          9.     On May 6, 2021, Defendants filed their Answer to the Second Amended Complaint.
12   ECF No. 59.
13          10.    Also, on May 6, 2021, Defendants moved to certify the Court’s April 22nd Order
14   for interlocutory appeal, which Lead Plaintiff opposed on May 17, 2021. ECF No. 58, 60. The
15   Court granted Defendants’ motion, and Defendants filed their Petition for Permission to Appeal
16   on August 16, 2021. ECF No. 62, 65, 66. On September 9, 2021, Lead Plaintiff filed an Answer
17   in Opposition to Defendants’ Petition.
18                                             Settlement
19          11.    Over the course of two months, while Defendants’ Petition for Permission to
20   Appeal was pending, the Settling Parties held negotiations regarding a potential settlement, and
21   Lead Counsel also consulted with a damages expert.
22          12.    Consequently, on October 12, 2021, the Settling Parties came to terms on the
23   Settlement. And later that same day, the Ninth Circuit issued an Order granting Defendants’
24   Petition for Permission to Appeal. ECF No. 67.
25          13.    On October 18, 2021, the Settling Parties executed a term sheet for the Settlement.
26

       DECLARATION OF JUAN E.
       MONTEVERDE
       Case No. 19-cv-5514-BHS
                                                    3
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 4 of 103




 1          14.    On October 25, 2021, the Settling Parties re-filed a joint motion in the Ninth Circuit
 2   to stay the appellate proceedings, under the newly assigned appellate case number. The motion
 3   was referred to Chris Goelz, Ninth Circuit Mediator, and on November 2, 2021, Mr. Goelz issued
 4   an order staying Defendants’ appeal and vacating the briefing schedule established for the appeal.
 5          15.    On November 29, 2021, the Ninth Circuit issued an order remanding the case so
 6   that this Court may consider the Settlement, and the Stipulation was executed.
 7                                         Preliminary Approval
 8          16.    On December 1, 2021, Lead Plaintiff filed a Motion for Preliminary Approval of
 9   Settlement, along with the Stipulation and its accompanying exhibits, including the Notice, Proof
10   of Claim and Release, Summary Notice, a proposed Preliminary Approval Order, and a proposed
11   Order and Final Judgment. ECF No. 71-72.
12          17.    On January 11, 2022, the Court entered the Preliminary Approval Order
13   preliminarily approving the Settlement and preliminarily certifying the Settlement Class, as well
14   as approving the form and methods for class notice, and setting a Final Approval Hearing for
15   May 2, 2022, at 11:00 a.m. ECF No. 75.
16          18.    In compliance with the Preliminary Approval Order, the Claims Administrator,
17   RG/2 Claims Administration LLC (“RG/2”), mailed the Notice by the Notice Date to records
18   holders, as well as brokers who held shares in street name for Papa Murphy’s stockholders during
19   the Settlement Class Period. Moreover, RG/2 posted the Notice on the settlement website at
20   www.rg2claims.com/papamurphy.html. In addition, on January 28, 2022, Lead Counsel
21   published Summary Notice via PRNewswire.
22          19.    RG/2 has mailed out 1,600 Notices, and in compliance with the Preliminary
23   Approval Order, no later than April 20, 2022, Lead Counsel will file a declaration with the most
24   up to date information regarding the responses of Settlement Class Members to the Notice.
25          20.    The deadline for objections and opt outs is April 6, 2022. To-date, Lead Counsel
26   is not aware of any objections to the Settlement, but there has been one request for exclusion (i.e.,

       DECLARATION OF JUAN E.
       MONTEVERDE
       Case No. 19-cv-5514-BHS
                                                      4
              Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 5 of 103




 1   a Papa Murphy’s shareholder with 60 shares).
 2                                       Attorneys’ Fees and Expenses
 3            21.   Lead Counsel’s compensation for services rendered in this Action was wholly
 4   contingent on the success of the Action. Lead Counsel is seeking attorneys’ fees of one-third of
 5   the Settlement Amount, or $800,000.00. These attorneys’ fees have not been paid from any source
 6   to Lead Counsel and have not been the subject of any prior request, or prior award, in any
 7   litigation or other proceeding.
 8            22.   The chart below summarizes Lead Counsel’s work performed in connection with
 9   prosecution of this Action. Lead Counsel has accrued 1186.9 attorney hours representing a total
10   lodestar of $878,307.50, from April 2019 to present day (billing report attached hereto as Exhibit
11   4).
12
                    PROFESSIONAL                       HOURS           RATE            LODESTAR
13
           Juan E. Monteverde (Managing Partner)          476.1         $875          $416,587.50
14

15         Miles Schreiner (Senior Associate)             344.5         $775          $266,987.50

16         John Baylet (Associate)                        207.4         $575            $119,255

17         Rossella Scarpa (Associate)                    158.9         $475           $75,477.50

18         TOTAL                                       1186.9                         $878,307.50

19            23.   The lodestar was calculated based on Lead Counsel’s hourly billing rates that are

20   prevalent in securities class action litigation as described below, and was prepared from

21   contemporaneous time records regularly kept and maintained by my firm. The time reflected was

22   reasonably and necessarily expended.

23            24.   The hourly rates for Lead Counsel are the usual and customary hourly billing rates

24   for our services in securities class action litigation. Lead Counsel determined the hourly rates

25   after careful consideration, including a survey of the prevailing market rates charged for securities

26   class action litigation in the New York metropolitan area. See NLJ’S BILLING SURVEY, The


       DECLARATION OF JUAN E.
       MONTEVERDE
       Case No. 19-cv-5514-BHS
                                                      5
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 6 of 103




 1   National Law Journal, Pg. 7, Vol. 37, No. 19 (attached hereto as Exhibit 7). These rates are also
 2   in line or below hourly rates accepted in the Western District of Washington. See, e.g., Brazile v.
 3   Comm’r of Soc. Sec., 2022 U.S. Dist. LEXIS 29808, at *7-8 (W.D. Wash. Feb. 18, 2022) (“The
 4   court notes that fee awards with hourly rates exceeding $1,000 have been approved by courts in
 5   this district on numerous occasions”); Stone v. Gov’t Emples. Ins. Co., 2017 U.S. Dist. LEXIS
 6   203611, at *3 (W.D. Wash. Dec. 11, 2017) (holding that an award of $1.34 million for an attorney
 7   with an hourly rate of $900 is reasonable); La Plant v. Berryhill, 2017 U.S. Dist. LEXIS 29825,
 8   at *7 (W.D. Wash. Mar. 2, 2017) (awarding $21,172.65 in fees for the attorneys’ time at an hourly
 9   rate of $1,323.29).
10          25.    The following chart also summarizes the work that Liaison Counsel performed in
11   the prosecution of the Action, including 25.03 attorney hours representing a total lodestar of
12   $13,765.40 from May 2019 to date. See Declaration of Roger M. Townsend attached hereto as
13   Exhibit 8.
14
                   PROFESSIONAL                       HOURS         RATE            LODESTAR
15
        Roger M. Townsend                             25.03         $550              $13,765.40
16

17      Total                                                                         $13,765.40

18          26.    Additionally, Lead Counsel is seeking reimbursement of $9,081.40 in expenses

19   incurred in connection with the Action. A summary of the expenses is detailed below:

20                  CATEGORY                                           AMOUNT
21    Court Filing and Service Fees                                     $1,031.40
22    Press Releases                                                       $450
23    Damages Expert                                                       $7,600
24    TOTAL                                                             $9,081.40
25   The expenses summarized above are supported by the books and records of my firm, which are
26

       DECLARATION OF JUAN E.
       MONTEVERDE
       Case No. 19-cv-5514-BHS
                                                     6
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 7 of 103




 1   prepared from expense vouchers, check records, or other documents, and represent an accurate
 2   record of the expenses incurred in connection with this Action.
 3          27.    Accordingly, Lead Counsel and Liaison Counsel together incurred a total lodestar
 4   of $892,072.90, and Lead Counsel incurred $9,081.40 in unreimbursed expenses in connection
 5   with this Action. This fact also warrants approval of the requested Fee and Expense Award.
 6                                               Service Award
 7          28.    I communicated regularly via email and telephone with my client and Lead
 8   Plaintiff, Evan Brown starting in April 2019 and throughout the pendency of the Action. Lead
 9   Plaintiff was instrumental in challenging the acquisition of Papa Murphy’s as outlined in his
10   declaration attached hereto as Exhibit 3.
11          29.    As a result, the requested Service Award for Lead Plaintiff is warranted and fair
12   under the circumstances.
13                                                 Exhibits
14          30.    Attached hereto are true and correct copies of the following exhibits:
15                 Exhibit 1: Janeen McIntosh and Svetlana Starykh, Recent Trends in Securities
16                 Class Action Litigation: 2021 Full-Year Review, 1, 24 (NERA Jan. 25, 2022)
17                 Exhibit 2: Monteverde & Associates PC Firm Resume
18                 Exhibit 3: Declaration of Lead Plaintiff, Evan Brown
19                 Exhibit 4: Monteverde & Associates PC Billing Report
20                 Exhibit 5: Plant v. Jaguar Animal Health, Inc., et al., Case No. 3:17-cv-04102,
21                 Dkt. No. 97 (N.D. Cal. May 27, 2021) (Order Awarding Attorneys’ Fees, Expenses,
22                 and Service Award)
23                 Exhibit 6: In re Envision Healthcare Corp., Case No. 1:18-cv-01068, ECF No.
24                 105 (D. Del. Feb. 16, 2021) (Order Awarding Attorneys’ Fees and Expenses and
25                 Lead Plaintiff’s Incentive Award)
26                 Exhibit 7: NLJ'S BILLING SURVEY, The National Law Journal, Pg. 7, Vol. No.

       DECLARATION OF JUAN E.
       MONTEVERDE
       Case No. 19-cv-5514-BHS
                                                      7
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 8 of 103
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 9 of 103




         Exhibit 1
         Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 10 of 103




25 January 2022




Recent Trends in Securities Class
Action Litigation: 2021 Full-Year Review
Over 10% of New Federal Filings Were Related to Special Purpose Acquisition Companies
Substantially Fewer Merger Objections Filed, Leading to a Decline in Aggregate New Filings
Total Resolutions, Average and Median Settlement Values Declined




By Janeen McIntosh and Svetlana Starykh
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 11 of 103




       Foreword

       I am excited to share NERA’s Recent Trends in Securities Class Action Litigation:
       2021 Full-Year Review with you. This year’s edition builds on work carried out
       over three decades by many members of NERA’s Securities and Finance Practice.
       This year’s report continues our analyses of trends in filings and settlements and
       presents new analyses related to current topics such as special purpose acquisition
       companies. Although space does not permit us to present all the analyses the
       authors have undertaken while working on this year’s edition or to provide details
       on the statistical analysis of settlement amounts, we hope you will contact us if you
       want to learn more about our research or our work related to securities litigations.
       On behalf of NERA’s Securities and Finance Practice, I thank you for taking the time
       to review our work and hope you find it informative.

       Dr. David Tabak
       Managing Director
               Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 12 of 103




Recent Trends in Securities Class Action Litigation:
2021 Full-Year Review
Over 10% of New Federal Filings Were Related to Special Purpose Acquisition Companies
Substantially Fewer Merger Objections Filed, Leading to a Decline in Aggregate New Filings
Total Resolutions, Average and Median Settlement Values Declined




By Janeen McIntosh and Svetlana Starykh1

25 January 2022




Introduction

For the first time since 2016, fewer than 300 new federal securities class action suits were
filed.2 There were 205 cases filed in 2021, a decline from the 321 suits filed in 2020. Although
substantially lower than the number of cases filed annually between 2017 and 2019, the 2021 level
is well within the pre-2017 historical range. The decline in the aggregate number of new cases
filed was driven by the notable decrease in the number of merger-objection suits in 2021. More
specifically, new merger-objection filings declined by more than 85% between 2020 and 2021. Of
the new cases filed in 2021, over 30% were filed against defendants in the electronic technology
and services sector and 40% were filed in the Second Circuit. The most common allegation included
in the complaints was misled future performance while the proportion of cases with an allegation
related to merger-integration issues doubled, driven primarily by the numerous filings related to
special purpose acquisition companies. In 2021, there were 20 securities class action cases filed with
a COVID-19-related claim alleged in the complaint, a decrease from the 33 suits filed in 2020.

Of the 239 cases resolved in 2021, 153 were dismissed and 86 resolved through a settlement. This
is a decline in total dismissed cases and total resolutions relative to 2020. Compared to 2020, there
was an increase in both dismissed and settled non-merger-objection cases. There was a substantial
decrease in merger-objection cases dismissed and one more such suit settled than in 2020. This
decline in the number of dismissed merger-objection cases not only offset the increase in standard
case resolutions, but also led to a lower aggregate number of cases resolved in 2021.

An evaluation of securities class action suits filed and resolved between 1 January 2000 and 31
December 2021 reveals the vast majority had a motion to dismiss filed. Of the 96% of cases with a
motion to dismiss filed, a decision was reached in 73% of the cases prior to resolution of the case.
Of the cases with a decision on a motion to dismiss, approximately 56% were granted. Among the
same group of cases, a motion for class certification was filed in only 16% of the securities class
actions. Of that 16%, a decision was reached in 56% of the cases prior to the case resolution, with
the motion for class certification granted in 83% of the cases with a decision.




                                                                                                         www.nera.com 1
                                              Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 13 of 103


                                                               In 2021, aggregate settlements amounted to $1.8 billion, with more than 50% of this amount
                                                               associated with the top 10 highest settlements for the year. The average settlement value decreased
                                                               by over 50% in 2021 to $21 million, the lowest recorded average in the last 10 years. Given that
                                                               there were no “mega” settlements (settlements of $1 billion or greater) in 2021, the average
                                                               settlement value after excluding “mega” settlements remains unchanged at $21 million. For 2021,
                                                               the median settlement value was $8 million, the lowest recorded median value since 2017. The
                                                               median annual settlement value for 2021 is approximately 40% lower than the inflation-adjusted
                                                               median value observed in the prior three years.



                                                               Trends in Filings

                                                               Following the passage of PSLRA in 1996, there have been over 100 federal securities class action
                                                               (SCA) suits filed each year. With the exception of 2001, when numerous IPO laddering cases were
                                                               filed, there were fewer than 300 new cases filed annually between 1996 and 2016. In 2017, there
                                                               were substantially more new suits filed, with more than 415 annual cases recorded—a trend that
                                                               continued through 2019. This uptick in filings was mostly due to the considerable increase in
                                                               merger-objection cases. However, in both 2020 and 2021, this higher annual level of new cases
                                                               filed did not persist.3

                                                               For the second consecutive year, new securities class action filings declined, falling to the lowest
                                                               level since 2009. In 2021, there were 205 new cases filed, which is more than 50% lower than the
                                                               annual levels of filings recorded each year between 2017 and 2019. See Figure 1.


         Figure 1. Federal Filings and Number of Companies Listed in the United States
                   January 1996–December 2021
                            550                                                                                      IPO Laddering Filings         Filings, Excluding IPO Laddering        Listings         10,000

                            500          8,884
                                                                                                                                                                                                            9,000

                                   8,783
                            450
                                           8,390       7,421                                                                                                                                                8,000

                            400                             7,887    7,133
                                                                                                                                                                                                            7,000




                                                                                                                                                                                                                     Number of Listed Companies
Number of Federal Filings




                                                                                 6,159
                            350                                                               6,029          5,941                                                                               5,956
                                                                         6,587                                                                                                               5,162          6,000
                                                                                      6,097         6,005                5,179
                            300                                     310                                                                                       5,060
                                                                                                                                       4,886     4,865                      4,853      4,877
                                                                                                                 5,472                                                                                      5,000
                                                                            3                                                                            5,064
                            250                                                                                                5,006                                  4,865      4,936
                                                                                                                                           4,808
                                                                                                                                                                                                            4,000
                            200                                                                                                                                             424 428 420

                                                                                                                                                                                                            3,000
                            150                                                                                                                                                                321
                                                                                                                                                                      299
                                                 274                       274
                                                       241 234                   237 245                           248                                     232
                                                                                                                                 228 230                                                                    2,000
                            100          201                        198                                     195          205                   210 220 220                                            205
                                                                                              188
                                   131                                                                133                                                                                                   1,000
                             50

                              0                                                                                                                                                                             0
                                  96

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                                                                                                                 Filing Year
                                  Note: Listed companies include those listed on the NYSE and Nasdaq. Listings data obtained from World Federation of Exchanges (WFE). The 2021
                                  listings data is as of September 2021.



2 www.nera.com
                                  Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 14 of 103


                                                  In addition to analyzing trends in aggregate filings, we also evaluated the number of filings relative
                                                  to the number of companies listed on the NYSE and Nasdaq exchanges. There were 5,956 listed
                                                  companies as of September 2021, which represents a 15% increase over the 2020 level and a
                                                  noteworthy change from the minor year-to-year fluctuations observed between 2016 and 2019.

                                                  Even though there was a significant decrease in new federal SCA filings in 2021, the decline was
                                                  not consistent across all case types. While new filings of Rule 10b-5, Section 11, and/or Section
                                                  12 cases (standard cases) increased, new filings of merger objections, Rule 10b-5 only, Section
                                                  11 and/or 12 only, and other SCA cases declined. The most notable was the decline in merger-
                                                  objection filings, which decreased by more than 85% from 103 new filings in 2020 to only 14
                                                  new filings in 2021. See Figure 2.


      Figure 2.Federal Filings by Type
                January 2012–December 2021

                            500

                                         Merger-Objection Filings
                            450          Other Filings
                                                                                                        424     428
                                         Rule 10b-5 Filings                                                              420

                            400          Rule 10b-5 and Section 11 and/or 12 Filings

                                         Section 11 or 12 Filings

                            350
                                                                                                                         162         321
                                                                                                                199
                                                                                                        205
Number of Federal Filings




                                                                                            299
                            300

                                                                                                                                     103
                            250                                                             92                            14
                                                                                  232
                                                  220               220
                                  210                                                                           17                                205
                                                                                       42                12                            9
                            200                                     41                      13                                                    14
                                                   53                              13
                                  55                                                                                                               4
                                                                    18
                                                   18
                            150   16                                                                                     201

                                                                                                        183     187                  184
                            100                                                   148       174                                                   156
                                                                    136
                                  119             135

                             50
                                                                                                                          16
                                                                    14             14                    12      8                    5           14
                                  7                8                                         8                            27          20
                              0   13                6               11             15       12           12     17                                17
                                  2012            2013              2014          2015      2016         2017   2018     2019        2020         2021
                                                                                               Filing Year




                                                                                                                                           www.nera.com 3
                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 15 of 103


                              Since 2018, the percentage of securities class action suits filed against defendants in the electronic
                              technology and services sector has shown steady growth. Of the new cases filed in 2017, less than
                              15% were filed against defendants in the electronic technology and services sector compared to
                              over 30% against defendants in the same sector in 2021. Between 2019 and 2021, the percentage
                              of securities class action suits filed against defendants in the health technology and services sector
                              also increased from 20% to 26%. See Figure 3.


Figure 3. Percentage of Federal Filings by Sector and Year
          Excludes Merger Objections
          January 2017–December 2021
                                                                                                                                                                         2017

                                                        13%                                                                                 5%                           2018
   Electronic Technology                                         19%                                                                        5%
                                                                    21%                                               Retail Trade          5%                           2019
 and Technology Services                                             22%                                                                  2%
                                                                                        31%                                                4%                            2020

                                                                                                                                                                         2021
                                                                                   28%                                                    3%
       Health Technology                                                    24%                                                          1%
                                                                    20%                                        Process Industries           5%
             and Services                                             22%                                                                    6%
                                                                               26%                                                         4%

                                                       14%                                                                                   7%
                                                          17%                                                      Energy and             4%
                    Finance                         11%                                                                                  1%
                                                                                                           Non-Energy Minerals              6%
                                                          17%
                                                    11%                                                                                   3%

                                                 9%                                                                                         5%
      Consumer Durables                     6%                                                                    Consumer and                 9%
                                                10%                                                                                        5%
       and Non-Durables                      7%                                                             Distribution Services            6%
                                              8%                                                                                          2%


                                             7%                                                                                            4%
          Commercial and                     7%                                                                   Transportation          3%
                                              9%                                                                                            5%
        Industrial Services                                                                                          and Utilities        3%
                                        4%
                                          5%                                                                                             1%


                                      3%                                                                                                  2%
                                         5%                                                                                              1%
           Producer and                                                                                         Communications             3%
                                        4%
    Other Manufacturing                 4%                                                                                               1%
                                        4%                                                                                               1%



Note: This analysis is based on the FactSet Research Systems, Inc. economic sector classification. Some of the FactSet economic sectors are combined for presentation.




4 www.nera.com
                                      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 16 of 103


                                                      In 2020, we observed a spike in new federal securities class action filings in the Ninth Circuit.
                                                      This pattern did not persist in 2021. In 2021, the Second Circuit received the highest number of
                                                      new SCA cases filed while the number of filings in the Ninth Circuit returned to pre-2020 levels.
                                                      However, the number of new filings in the Third Circuit declined to a five-year low with fewer than
                                                      15 cases filed in this circuit in 2021. See Figure 4.


    Figure 4. Federal Filings by Circuit and Year
              Excludes Merger Objections
              January 2017–December 2021

                            120
                                                                                                                                                                  2017     2018              2019            2020             2021

                            110
                                                                  104
                            100


                             90

                                                                           81
                             80
Number of Federal Filings




                                                              75 75                                                                                                                          76
                                                                      70
                             70
                                                                                                                                                                                       66

                             60
                                                                                                                                                                                        56        55

                             50                                                                                                                                                   49


                             40                                                 38

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                             30
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                             10               7                                                  8                   9 10         8          8                9                                        8
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                                                  6                                                      7                            64         6                                                         676                7        7
                                                          5                                                      5                                                55
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                              0
                                  DC              1st             2nd                3rd                 4th            5th                6th            7th            8th            9th                10th          11th
                                                                                                                                  Circuit




                                                                                                                                                                                                            www.nera.com 5
                                            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 17 of 103


                                                          Of the new federal securities class action cases filed in 2021, 40% alleged violations related to
                                                          misleading future performance, the most common alleged violation for the year.4 Allegations of
                                                          violations related to missed earnings guidance continue to be a common allegation, with 24% of
                                                          cases involving this claim. The percentage of cases alleging violations of accounting issues and
                                                          regulatory issues declined in 2021, each occurring in less than 20% of new cases filed. In 2021,
                                                          there was an uptick in the number of SCA filings with an allegation related to merger-integration
                                                          issues included in the complaint. This increase was driven by the substantial number of cases
                                                          involving special purpose acquisition companies (SPAC) filed in 2021. Excluding these SPAC cases,
                                                          only 5% of cases included an allegation related to merger-integration issues. See Figure 5.


    Figure 5. Allegations
              Shareholder Class Actions with Alleged Violations of Rule 10b-5, Section 11, and/or Section 12
              January 2017–December 2021

                                45%
                                                                                                                                                             2017
                                                                                                  40%                                                        2018
                                40%
                                                                                                                                                             2019

                                                                                            34%                                                              2020
                                35%                                   34%
                                                                                                                                                             2021
Percentage of Federal Filings




                                30%
                                              28%
                                        26%                                                             27%
                                                                                                                25%
                                25%                 24%         24%                 24%
                                      24%                                     24%
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                                20%                                                       19%
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                                                             17%                                                                                                        17%
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                                15%
                                                                                                                                                             11%
                                10%
                                                                                                                                                        8%
                                                                                                                                                   7%
                                                                                                                                                                   5%
                                5%
                                                                                                                            2%           2%
                                                                                                                                 1% 2%        1%
                                0%
                                      Accounting Issues        Missed Earnings       Misled Future      Regulatory Issues         Related to       Merger-Integration
                                                                  Guidance           Performance                                 Environment            Issues




6 www.nera.com
                  Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 18 of 103


                                 Event-Driven and Special Cases

                                 As part of our annual review process, we identify potential development areas for securities class
                                 action filings and review any new trends on previously identified areas.5 Below, we summarize some
                                 of these areas for the last three years.

                                 COVID-19
                                 The first federal securities class action suit with claims related to COVID-19 included in the complaint
                                 was filed in March 2020. Since then, there have been a total of 52 additional suits. In 2021, there
                                 were 20 securities class action cases filed with a COVID-19-related claim, a decrease from the 33
                                 suits filed in 2020. While the Ninth Circuit was the jurisdiction with the highest percentage of
                                 COVID-19-related filings in 2020, the Second Circuit was the most common venue in 2021.

                                 Of the 2021 cases filed with a COVID-19-related claim in the complaint, 50% were against
                                 defendants in the technology services economic sector. Among the 2020 cases filed with a
                                 COVID-19 claim, only 15% were against defendants within this sector. See Figure 6.



Figure 6. Percentage of COVID-19-Related Federal Filings by Sector and Year
          March 2020–December 2021


    Consumer
    Services
    Electronic
    Technology                             3%                                                               5% 5%
                                         3%                                                                             5%
    Finance                                                                   Commercial
                                                          15%                 Services                                       5%
    Health                      15%                                           Consumer
    Services                                                    3%            Non-Durables
    Health                                                                    Consumer
    Technology                                                                Services
    Non-Energy             6%                                                 Health
    Minerals                                  2020                            Technology                      2021
    Process                                                     21%                                                           25%
    Industries          3%                                                    Retail Trade
                                                                                               50%
    Producer                 6%                                               Technology
    Manufacturing                                                             Services
    Technology                                                                Transportation
    Services                                21%            3%                                                          5%
    Transportation

    Utilities

Note: Due to rounding, percentages may not add to 100%.




                                                                                                                       www.nera.com 7
                   Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 19 of 103


                                  In 2020, a violation related to regulatory issues was the most common allegation among the
                                  COVID-19-related cases. However, in 2021, only one case with a COVID-19 claim included an
                                  allegation of regulatory issues. In contrast, the most common allegation included in the COVID-19-
                                  related suits filed in 2021 related to future performance. See Figure 7.


Figure 7. Percentage of COVID-19-Related Federal Filings by Allegation and Year
          March 2020–December 2021



                                                           3%                                         5%
                                                                                                5%            10%
                                                                   15%

     Accounting Issues
                                            30%
     Missed Earnings Guidance

     Misled Future Performance                              2020         25%                            2021
     Regulatory Issues
                                                                                                                        38%
                                                                                           43%
     Merger-Integration Issues

                                                           28%



 Note: Due to rounding, percentages may not add to 100%.




                                  SPAC
                                  In 2021, numerous federal cases were filed related to special purpose acquisition companies (SPACs).
                                  Between January 2021 and December 2021, a total of 24 cases related to SPACs were filed, a
                                  substantial increase from the one case filed in 2020.




8 www.nera.com
              Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 20 of 103


                                  These suits were filed against defendants in a number of sectors, with defendants in the
                                  consumer durables, technology services, and finance sectors being the most frequently targeted
                                  in 2020–2021. See Figure 8.



Figure 8. Number of SPAC-Related Federal Filings by Sector
          December 2020–December 2021




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         Economic Sector




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        Number of Filings
                




              Total Filings                  1             4         2             5         1         2         1             2      2   1     4




                                  Of the 25 SPAC cases filed in 2020 and 2021, all but one included an allegation related to merger-
                                  integration issues. Claims related to misleading earnings guidance were found in 11 of the 25 SPAC
                                  cases. In total, these suits included 49 allegations, or an average of approximately two allegations
                                  per suit. See Figure 9.



Figure 9. Number of SPAC-Related Federal Filings by Allegation
          December 2020–December 2021                                                                                                               


             Allegations             Number of Filings                                                                                              Total Filings


        Accounting Issues                                                                                                                                      6

Missed Earnings Guidance                                                                                                                                       11

Misled Future Performance                                                                                                                                      6

         Regulatory Issues                                                                                                                                     1

 Merger-Integration Issues                                                                                                                                     24

     Environmental Issues                                                                                                                                      1




                                                                                                                                              www.nera.com 9
                 Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 21 of 103


Figure 10. Event-Driven and Other Special Cases by Filing Year
           January 2019–December 2021

                        1   2019
       Opioid
                        1   2020
        Crisis
                            2 2021

      Money                     3   2019
  Laundering                    3   2020


     #MeToo                 2   2020
                        1    2021

                                    4   2019
 Environment                            5  2020
                        1    2021

Cyber-Security                  3   2019
       Breach                   3   2020
                                        5   2021

                                                7  2019
     Cannabis                               6   2020
                        1    2021

                                                    8   2019
      Bribery/
                                            6   2020
    Kickbacks

                        1    2020
        SPACs
                                                                                                24   2021


    COVID-19
                                                                                                                          33    2020
                                                                                    20   2021

                                                                     Number of Filings




                            Bribery/Kickbacks
                            In 2019 and 2020, there were eight and six bribery/kickback-related securities class action cases
                            filed, respectively. However, in 2021, there were no such cases filed. See Figure 10.

                            Cannabis
                            Over the 2019–2020 period, 13 cases were filed against defendants in the cannabis industry. In
                            2021, only one such securities class action case was filed. See Figure 10.

                            Cybersecurity Breach
                            Unlike some other development or special interest areas, securities class action filings related to
                            a cybersecurity breach continued to be filed in 2021. In both 2019 and 2020 individually, three
                            cases were filed related to a cybersecurity breach. While still only a handful of cases, there was an
                            increase in 2021 with five such cases filed. See Figure 10.

                            Environment
                            In 2021, there was one environment-related case filed. This is a decrease from the five cases filed in
                            2020 and the four cases filed in 2019. See Figure 10.

                            Money Laundering
                            In total, six cases with claims of money laundering were filed in the 2019–2020 period, with three
                            cases filed each year. No cases with money laundering claims were filed in 2021. See Figure 10.


10 www.nera.com
                                Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 22 of 103


                                                 Trends in Resolutions

                                                 Resolutions consist of both dismissed and settled cases.6 In any one year, the aggregate number
                                                 of resolutions may be affected by changes in either or both categories. For our analysis, we review
                                                 changes within these categories as well as the trends for merger objections and non-merger-
                                                 objection cases separately. In addition, we review the current status of securities class action suits
                                                 filed in the last 10 years.

                                                 In 2021, 239 cases were resolved, the lowest recorded level of resolutions since 2015. Of those,
                                                 153 were dismissed and 86 resolved through a settlement. This is a decrease in both aggregate
                                                 resolutions and dismissals compared to 2020. However, compared to the pre-2017 resolutions, the
                                                 239 cases resolved is well within the historical range of annual resolutions. See Figure 11.



  Figure 11. Number of Resolved Cases: Dismissed or Settled
             January 2012–December 2021

                          400

                                       Merger Objections Settled

                          350          Settled
                                                                                                 333         334
                                       Merger Objections Dismissed
                                                                                                             29                     312
                                       Dismissed                                                                        304
                          300                                                                                                        3
                                                                                                 69                      16

                                                                                                                                     70
                                                                                                             75
                                                                                     251
Number of Federal Cases




                          250                                                                                                                   239
                                                                                                                         82
                                                                                     20
                                                                                                                                                 4
                                                                                                 80

                          200   193              192                     191
                                                               179                                                                               82
                                                   25                    17          94
                                33                             10                                                                   123
                                                                                                             119
                          150                                                                                           116
                                                                                                 89                                              24
                                 66                78                     93
                                                                   94                40
                          100
                                 19                10
                                                                          7
                                                                   9                                                                            129
                                                                                                             111                    116
                           50                                                         97         95                      90
                                 75                79                     74
                                                                   66


                            0
                                2012             2013          2014     2015        2016         2017       2018        2019        2020        2021
                                                                                     Resolution Year




                                                                                                                                      www.nera.com 11
                                               Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 23 of 103


                                                               A review of the resolution pattern by type of case reveals differing trends. Although not a
                                                               substantial increase, the number of non-merger-objection resolutions in 2021 was the highest
                                                               recorded in the last 10 years. While there was a modest increase in both the number of
                                                               non-merger-objection suits dismissed and settled relative to 2020, there was a decrease in dismissed
                                                               merger-objection cases. In fact, the number of merger-objection suits dismissed in 2021 was more
                                                               than 80% fewer than the number of similar suits dismissed in 2020. This decline in the number of
                                                               dismissed merger-objection suits was more than sufficient to offset the increase in standard case
                                                               resolutions, resulting in a lower aggregate number of cases resolved in 2021.

                                                               For each filing year since 2015, more cases have been resolved in favor of the defendant than have
                                                               been settled. This is consistent with historical trends, which have indicated that settlements typically
                                                               occur later in the litigation process. Reviewing cases filed in 2020, as of December 2020, 6% were
                                                               dismissed and 94% remained pending.7 For the same group of cases, as of December 2021, 28%
                                                               were dismissed and only 2% were settled. Of the cases filed in 2021, a higher proportion of cases
                                                               were dismissed in the year of filing than the cases filed in 2020, with 10% dismissed as of year-end
                                                               2021. See Figure 12.


     Figure 12. Status of Cases as Percentage of Federal Filings by Filing Year
                Excludes Merger Objections and Verdicts
                January 2012–December 2021
                                                                                                                                         Dismissed    Pending   Settled

                                                                                                                                                     2%

                                                                                                                                        15%
                                                                                                                                 17%
                                                                                                                          28%
                                                        36%                               36%              35%
                                      45%
                                                                         49%
 Percentage of Federal Filings




                                                                                                                                        43%          71%
                                                                                                                          21%    41%

                                                                                          16%                                                                   90%
                                                        22%                                                23%

                                       16%
                                                                         15%




                                                                                                                          51%
                                                                                          47%
                                                        42%                                                42%                   41%    42%
                                       39%                               36%
                                                                                                                                                     28%


                                                                                                                                                                10%

                                      2012              2013             2014             2015             2016           2017   2018   2019         2020       2021
                                                                                                               Filing Year
                                 Note: Dismissals may include dismissals without prejudice and dismissals under appeal.




12 www.nera.com
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 24 of 103


       While 83% of cases resolve in four years or less, over half of cases are resolved between one and
       three years after filing.8 See Figure 13.


       Figure 13. Time from First Complaint Filing to Resolution
                  Excludes Merger Objections and Laddering Cases
                  Cases Filed January 2003–December 2017 and Resolved January 2003–December 2021




                                  More than 4 Years          Less than 1 Year
                                        17%                       15%




                            3–4 Years
                              16%
                                                                      1–2 Years
                                                                        29%



                                            2–3 Years
                                              23%




         “The number of merger-objection suits dismissed in 2021
          was more than 80% fewer than the number of similar suits
          dismissed in 2020. This decline in the number of dismissed
          merger-objection suits was more than sufficient to offset the
          increase in standard case resolutions, resulting in a lower
          aggregate number of cases resolved in 2021.”




                                                                                                   www.nera.com 13
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 25 of 103


                   Analysis of Motions

                   In addition to tracking filing and resolution information for federal securities class actions, NERA
                   also tracks decisions on motions to dismiss and motions for class certification, and the status of any
                   motion as of the resolution of each case.9

                   Motion to Dismiss
                   Of the securities class action cases filed and resolved between 1 January 2012 and 31 December
                   2021, a motion to dismiss was filed in 96%. Among those, a decision was reached in 73% of cases.
                   Of the cases with a decision on a motion to dismiss, approximately 56% were granted while only
                   19% were denied. Lastly, of the 96% of cases with a motion to dismiss filed, plaintiffs voluntarily
                   dismissed the action in 17%, while the motion to dismiss was withdrawn by defendants only in an
                   additional 2%. See Figure 14.


                   Figure 14. Filing and Resolutions of Motions to Dismiss
                              Cases Filed and Resolved January 2012–December 2021


                   Out of All Cases Filed and Resolved       Out of Cases with MTD Filed     Out of Cases with MTD Decided

                             Not Filed: 4%

                                                                 Plaintiffs Voluntarily
                                                                Dismissed Action: 17%

                                                           MTD Withdrawn by Defendants: 2%
                                                              No Court Decision Prior to      Granted Without Prejudice: 7%
                                                                 Case Resolution: 8%




                                                                                                      Granted: 56%
                               Filed: 96%

                                                                Court Decision Prior to
                                                                Case Resolution: 73%


                                                                                                Partially Granted/Partially
                                                                                                       Denied: 17%


                                                                                                      Denied: 19%




14 www.nera.com
                 Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 26 of 103


                               Motion for Class Certification
                               A motion for class certification was filed in less than 20% of the securities class action suits filed
                               and resolved between 1 January 2012 and 31 December 2021. This is partly due to the fact that a
                               substantial number of cases are either dismissed or settled before the class-certification stage of the
                               case is reached. A decision was reached in 56% of the cases where a motion for class certification
                               was filed, with the motion being withdrawn by plaintiffs in an additional 1% of the cases. Among
                               the cases with a decision, the motion for class certification was granted in 83% and partially
                               granted and partially denied in an additional 1% of cases. See Figure 15.



Figure 15. Filing and Resolutions of Motions for Class Certification
           Cases Filed and Resolved January 2012–December 2021


Out of All Cases Filed and Resolved         Out of Cases with MCC Filed          Out of Cases with MCC Decision




          Not Filed: 84%




                                                                          MCC Withdrawn
                                                                          by Plaintiffs: 1%
                                                                                                                  Partially Granted/
                                             No Court Decision Prior to                                           Partially Denied: 1%
                                               Case Resolution: 43%
            Filed: 16%                                                                                            Denied: 11%
                                              Court Decision Prior to                         Granted: 83%
                                               Case Resolution: 56%
                                                                                                                  Denied Without Prejudice: 5%




                                                                                                                         www.nera.com 15
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 27 of 103


                   Approximately half of decisions on motions for class certification occur between two and three
                   years after the filing of the first complaint. See Figure 16.



                   Figure 16. Time from First Complaint Filing to Class Certification Decision
                              Cases Filed and Resolved January 2012–December 2021

                                                                        Less than 1 Year
                                                                              1%



                                                      4–5 Years
                                                       15%                     1–2 Years
                                                                                 16%




                                          3–4 Years
                                            19%



                                                                           2–3 Years
                                                                            48%




                     “A motion for class certification was filed in less than
                      20% of the securities class action suits filed and resolved
                      between 1 January 2012 and 31 December 2021.”




16 www.nera.com
                                            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 28 of 103


                                                   Trends in Settlement Values

                                                   In 2021, aggregate settlements amounted to $1.8 billion. This amount is $400 million lower than
                                                   the inflation-adjusted $2.2 billion aggregate settlement amount in 2019, and considerably lower
                                                   than the inflation-adjusted amounts of $3.1 billion and $5.2 billion in 2020 and 2018, respectively.
                                                   Trends in settlement values can be evaluated using a variety of metrics, including distributions of
                                                   settlement values, average settlement values, and median settlement values. While annual average
                                                   settlement values can be a helpful statistic, these values may be impacted by one or, in some cases,
                                                   a few very high settlement amounts. Unlike averages, the median settlement value is unaffected by
                                                   these very high “outlier” settlement amounts and gives insight into the most frequent settlement
                                                   amounts. To understand what more “typical” cases look like, we also analyze the average and
                                                   median settlement values for cases with a settlement amount under $1 billion, thus excluding
                                                   these “outlier” settlement amounts. For the analysis of settlement values, our data is limited to
                                                   non-merger-objection cases with positive settlement values.10



     Figure 17. Average Settlement Value
                Excludes Merger Objections and Settlements for $0 to the Class
                January 2012–December 2021



                                      140
                                                                                                                                   Nominal $

                                                                                                                                   Inflation Adjustment

                                                                                                                                  $ Adjusted for Inflation
                                      120




                                      100          $96
Average Settlement Value ($Million)




                                                                                      $85

                                       80                                                                   $76



                                            $60                           $61
                                       60

                                                                                                                                      $47
                                                               $40
                                       40           $81
                                                                                      $74
                                                                                                             $69        $29
                                                                                                 $27
                                            $50                           $52                                                                          $21
                                       20                                                                                             $44
                                                               $34
                                                                                                 $24                    $27
                                                                                                                                                       $21

                                        0
                                            2012   2013        2014       2015       2016        2017       2018        2019         2020              2021
                                                                                     Settlement Year




                                                                                                                                        www.nera.com 17
                                             Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 29 of 103


                                                    The average settlement value in 2021 was $21 million, which is more than 50% lower than the
                                                    2020 inflation-adjusted average of $47 million and marks the lowest recorded average in the last
                                                    10 years. The inflation-adjusted average settlement value has ranged from a low of $21 million in
                                                    2021 to a high of inflation-adjusted $96 million in 2013, partly due to the presence or absence of
                                                    one or two “outlier” or “mega” settlements, which for this purpose are single case settlements of
                                                    $1 billion or higher. See Figure 17. Unlike in 2020 when there was one “mega” settlement, there
                                                    were no cases resolved with a settlement amount above $1 billion in 2021. In fact, the highest
                                                    recorded settlement amount is 2021 was $155 million.

                                                    Once settlements greater than $1 billion are excluded, the inflation-adjusted annual average
                                                    settlement values trend is more stable, ranging from $21 million to $33 million in the last five years.
                                                    In this group of settlements, the average settlement value for 2021 was $21 million, still the lowest
                                                    annual average within the most recent 10 years. See Figure 18.


   Figure 18. Average Settlement Value
              Excludes Settlements over $1 Billion, Merger Objections, and Settlements for $0 to the Class
              January 2012–December 2021


                                      70
                                                                                                                                   Nominal $
                                                  $64
                                                                         $63                                                       Inflation Adjustment

                                      60                                                                                          $ Adjusted for Inflation



                                                                                     $52
                                      50
Average Settlement Value ($Million)




                                           $43
                                                             $40
                                      40


                                                                                                            $33
                                                                                                                                     $32
                                                                                                                        $30
                                      30
                                                                                                $27
                                                  $54                    $54

                                                                                     $45                                                              $21
                                      20
                                           $36               $34
                                                                                                            $30                      $30
                                                                                                                        $28
                                                                                                $24
                                      10                                                                                                              $21




                                       0
                                           2012   2013       2014       2015        2016        2017        2018        2019        2020              2021
                                                                                     Settlement Year




18 www.nera.com
                                    Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 30 of 103


                                                   While there was a shift upward in the annual distribution of nominal settlement values between
                                                   2017 and 2020, this trend did not persist in 2021. Instead, in 2021, nearly 60% of cases resolved for
                                                   settlement amounts less than $10 million. This increase in the proportion of cases settling for lower
                                                   values in 2021 was accompanied by a decrease in the proportion of cases resolving for $100 million
                                                   or greater, with fewer than 5% of settlements falling in this range. See Figure 19.


    Figure 19. Distribution of Settlement Values
               Excludes Merger Objections and Settlements for $0 to the Class
               January 2017–December 2021


                                    62%
                              60%                        59%                                                                                                   2017

                                                                                                                                                               2018

                                                                                                                                                               2019
                              50%
                                                                                                                                                               2020
                                          46%
                                                   44%                                                                                                         2021
                                                43%
Percentage of Settled Cases




                              40%



                              30%                                          29%

                                                                                 24%                  24%


                              20%                                    19%               20%

                                                                                                                  16%
                                                                                                            14%
                                                                                                13%
                                                               11%                                                                             10%
                              10%                                                                                       9%             8% 7%         8%            9%
                                                                                                                             7%                            7% 6%
                                                                                                                                  4%                                    4%

                              0%
                                      Less than $10                   $10–$19.9                       $20–$49.9                   $50–$99.9               $100 or Greater
                                                                                             Settlement Size ($Million)




                                                                                                                                                      www.nera.com 19
                                                Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 31 of 103


                                                          The median annual settlement value for 2021 is approximately 40% lower than the inflation-
                                                          adjusted median value observed in 2018, 2019, and 2020. For 2021, the median settlement value
                                                          was $8 million, the lowest recorded median value since 2017. See Figure 20.



    Figure 20. Median Settlement Value
               Excludes Settlements over $1 Billion, Merger Objections, and Settlements for $0 to the Class
               January 2012–December 2021

                                     20
                                                                                                                                   Nominal $

                                     18                                                                                            Inflation Adjustment

                                                                                                                                  $ Adjusted for Inflation

                                     16
Median Settlement Value ($Million)




                                     14                                                                      $14                    $14
                                          $13
                                                                                                                        $13

                                     12
                                                     $11

                                     10                                                $10

                                                                             $8
                                      8                                                                                                               $8
                                                                  $8
                                                                                                   $7

                                                                                                             $13                    $13
                                      6                                                                                 $12
                                          $11
                                                     $9
                                      4                                                 $9
                                                                                                                                                      $8
                                                                             $7
                                                                  $7                               $6
                                      2


                                      0
                                          2012       2013        2014       2015       2016        2017      2018       2019        2020             2021
                                                                                       Settlement Year




20 www.nera.com
                    Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 32 of 103


                                 Top Settlements in 2021

                                 Table 1 summarizes the 10 largest settlements reached in securities class action suits between 1
                                 January 2021 and 31 December 2021. In total, the 10 largest settlements accounted for more than
                                 50% of the aggregate settlement amount reached in 2021. Six of the top 10 settlements were
                                 reached with defendants in the health technology and services or technology services economic
                                 sectors. The Second Circuit was the most common circuit for these cases, accounting for four of the
                                 top 10 settlements.


Table 1. Top 10 2021 Securities Class Action Settlements


					                                                                         Total         Plaintiffs’ Attorneys’
				                          Settlement                                   Settlement        Fees and Expenses				
Ranking Defendant Filing Date    Date                                    Value ($Million)      Value ($Million)    Circuit Economic Sector


 1     Snap, Inc.                             16 May 17    09 Mar 21         $154.7               $41.0          9th       Technology Services
 2     DaVita Inc.                             1 Feb 17    30 Mar 21         $135.0               $41.0         10th       Health Services
 3     Allergan plc (f/k/a Actavis plc)       22 Dec 16    17 Nov 21         $130.0               $35.2          3rd       Health Technology
 4     Tableau Software, Inc.                  28 Jul 17   14 Sep 21           $95.0              $27.7          2nd       Technology Services
 5     Cognizant Technology Solutions Corp.    5 Oct 16    20 Dec 21           $95.0              $19.5          3rd       Technology Services
 6     The Southern Company                   20 Jan 17    05 Feb 21           $87.5              $24.9         11th       Utilities
 7     MetLife, Inc.                          12 Jan 12    14 Apr 21          $84.0               $23.5          2nd       Finance
 8     Towers Watson & Co.                    21 Nov 17    21 May 21           $75.0              $13.7          4th       Commercial Services
 9     CannTrust Holdings Inc.                 10 Jul 19   02 Dec 21          $66.4                 $0           2nd       Health Technology
10     Chemical and Mining Company            19 Mar 15    26 Apr 21           $62.5              $12.1          2nd       Process Industries
		     of Chile Inc.

		     Total			                                                              $985.1             $238.5

       Note: Fees only, expenses are not available yet.				




                                 Table 2 summarizes the 10 largest federal securities class action settlements since the passage of
                                 PSLRA. Since the Petrobras settlement in 2018, the settlements in this list have all been above
                                 $1 billion, ranging from $1.1 billion to $7.2 billion.




                                                                                                                          www.nera.com 21
                   Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 33 of 103


Table 2. Top 10 Federal Securities Class Action Settlements (As of 31 December 2021)


						                                             Codefendent Settlements
								                                                                          Plaintiffs’
					                                  Total      Financial        Accounting    Attorneys’		
				                                Settlement  Institutions          Firms       Fees and
			               Filing Settlement    Value        Value             Value    Expenses Value		
Ranking Defendant Date     Year(s)   ($Million)  ($Million)         ($Million)    ($Million)  Circuit                      Economic Sector


 1   ENRON Corp.                           22 Oct 01   2003–2010   $7,242          $6,903              $73    $798   5th   Industrial Services
 2   WorldCom, Inc.                        30 Apr 02   2004–2005   $6,196          $6,004             $103    $530   2nd   Communications
 3   Cendant Corp.                         16 Apr 98     2000      $3,692            $342             $467    $324   3rd   Finance
4 Tyco International, Ltd. 23 Aug 02 2007 $3,200 No codefendant $225 $493 1st                                              Producer
										                                                                                                                 Manufacturing
 5   Petroleo Brasileiro S.A.- Petrobras   8 Dec 14      2018      $3,000              $0              $50    $205   2nd   Energy Minerals
6 AOL Time Warner Inc. 18 Jul 02 2006 $2,650 No codefendant $100 $151 2nd                                                  Consumer
										                                                                                                                 Services
 7   Bank of America Corp.                 21 Jan 09     2013      $2,425   No codefendant   No codefendant   $177   2nd   Finance
 8   Household International, Inc.         19 Aug 02   2006–2016   $1,577        Dismissed        Dismissed   $427   7th   Finance
9 Nortel Networks 2 Mar 01 2006 $1,143 No codefendant $0 $94 2nd                                                           Electronic
										                                                                                                                 Technology
10   Royal Ahold, NV                       25 Feb 03     2006      $1,100              $0               $0    $170   2nd   Retail trade
													
		 Total			 $32,224 $13,249 $1,017 $3,368




                                  NERA-Defined Investor Losses

                                  To estimate the potential aggregate loss to investors as a result of purchasing the defendant’s
                                  stock during the alleged class period, NERA has developed its own proprietary variable, NERA-
                                  Defined Investor Losses, using publicly available data. The NERA-Defined Investor Losses measure is
                                  constructed assuming investors had invested in stocks during the class period whose performance
                                  was comparable to that of the S&P 500 Index. Over the years, NERA has reviewed and examined
                                  more than 2,000 settlements and found, of the variables analyzed, this proprietary variable is the
                                  most powerful predictor of settlement amount.11




22 www.nera.com
                                                                  Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 34 of 103


                                                                              While settlement values are highly correlated with Investor Losses, the relationship between
                                                                              settlement amount and Investor Losses is not linear. More specifically, the ratio is higher for smaller
                                                                              cases than for cases with larger NERA-Defined Investor Losses. See Figure 21.


       Figure 21. Median Settlement Value as a Percentage of NERA-Defined Investor Losses
                  By Investor Losses
                  Cases Filed and Setted December 2012–December 2021


                                                      30%
Settlement Value as a Percentage of Investor Losses




                                                                26.2%
                                                      25%




                                                      20%




                                                      15%




                                                      10%



                                                                             5.2%
                                                       5%                                4.2%
                                                                                                          2.8%
                                                                                                                           2.3%
                                                                                                                                            1.6%         1.7%               1.3%             1.0%
                                                                                                                                                                                                             0.5%
                                                       0%
                                                            0




                                                                         9




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                                                                                                                           9




                                                                                                                                            9




                                                                                                                                                             9




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                                                                                                                                                                                                            te
                                                           $2




                                                                        $4




                                                                                    $9




                                                                                                     19




                                                                                                                      39




                                                                                                                                       59




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Le




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                                                                                                                                                                 $1




                                                                                                                                                                                $5




                                                                                                                                                                                                  0,
                                                                                                                  Investor Losses ($Million)


                                                                                                                                                                                                 $1

                                                                              The median Investor Losses for cases settled in 2021 was $731 million, the highest recorded value
                                                                              since 2013, but less than 5% higher than the 2020 value. Over the last 10 years, the annual median
                                                                              Investor Losses have ranged from a high of $785 million to a low of $358 million. Following an
                                                                              uptick in the median ratio of settlement amount to Investor Losses in 2017 to 2.5%, the ratio
                                                                              declined through 2019, with only modest increases in both 2020 and 2021. See Figure 22.




                                                                                                                                                                                             www.nera.com 23
                                             Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 35 of 103


      Figure 22. Median NERA-Defined Investor Losses and Median Ratio of Settlement to Investor Losses by Settlement Year
                 January 2012–December 2021


                                    900                                                                                                                                 3.0%
                                                                                        Median Investor Losses          Median Ratio of Settlement to Investor Losses


                                    800          $785
                                          $755                                                  2.5%
                                                                                                                 2.4%                                          $731     2.5%
                                                                                                                                                $698
                                    700




                                                                                                                                                                               Median Ratio of Settlement to Investor Losses
                                                              $667                                               $668
Median Investor Losses ($Million)




                                    600                       1.9%                  $586                                                                                2.0%
                                                 1.9%
                                                                                                                                                1.8%           1.8%
                                          1.8%

                                    500                                                                                          $472
                                                                         $453
                                                                                                                                                                        1.5%
                                                                                                                                1.6%
                                    400                                  1.5%       1.5%
                                                                                                 $358


                                    300                                                                                                                                 1.0%



                                    200

                                                                                                                                                                        0.5%

                                    100



                                      0                                                                                                                                 0.0%
                                          2012   2013         2014       2015       2016       2017              2018            2019           2020           2021
                                                                                    Settlement Year




                                                        In analyzing drivers of settlement amounts, NERA has identified the following key factors:

                                                        • NERA-Defined Investor Losses, as defined above;
                                                        • The market capitalization of the issuer immediately after the end of the class period;
                                                        • The types of securities, in addition to common stock, alleged to have been affected by
                                                          the fraud;
                                                        • Variables that serve as a proxy for the merit of plaintiffs’ allegations (such as whether the
                                                          company has already been sanctioned by a governmental or regulatory agency or paid a
                                                          fine in connection with the allegations);
                                                        • The stage of litigation at the time of settlement; and
                                                        • Whether an institution or public pension fund is lead or named plaintiff.




24 www.nera.com
                                                        Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 36 of 103


                                                                   Among cases settled between December 2012 and September 2021, these factors account for a
                                                                   substantial fraction of the variation observed in actual settlements. See Figure 23.



         Figure 23. Predicted vs. Actual Settlements
                    Investor Losses Using S&P 500 Index
                    Cases Settled December 2012–September 2021


                                               $10BB




                                                $1BB
Actual Settlement (on a Logarithmic Scale)




                                             $100MM




                                              $10MM




                                               $1MM




                                             $100,000
                                                                                                                                          
                                                                                        Median Predicted Settlement (on a Logarithmic Scale)




                                                                   Trends in Plaintiffs’ Attorneys’ Fees and Expenses

                                                                   Plaintiffs’ attorneys’ fees and expenses related to work on securities class action suits have varied
                                                                   substantially over time by settlement size. However, the median of plaintiffs’ attorneys’ fees and
                                                                   expenses as a percentage of settlement amount has been fairly consistent since 1996.




                                                                                                                                                        www.nera.com 25
                                                  Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 37 of 103


                                                                    Between 2012 and 2020, the annual aggregate plaintiffs’ attorneys’ fees and expenses ranged from
                                                                    a low of $467 million in 2017 to a high of $1.6 billion in 2016. For 2021, the aggregate plaintiffs’
                                                                    attorneys’ fees and expenses associated with settled cases was $451 million. Given the absence
                                                                    of any settlements above $500 million in 2021, similar to 2019, there were no plaintiffs’ attorneys’
                                                                    fees and expenses associated with settlements of $500 million or higher. And while there was
                                                                    an increase in the aggregate fees and expenses for settlements under $100 million, there was an
                                                                    offsetting decrease in the aggregate fees and expenses for settlements between $100 million and
                                                                    $500 million. See Figure 24.



     Figure 24. Aggregate Plaintiffs’ Attorneys’ Fees and Expenses by Settlement Size
                January 2012–December 2021


                                         1,800
                                                   Settlement Size ($Million)
                                                        $1,000 or Greater

                                                        $500–$999.9
                                         1,600                                                     $1,552
                                                        $100–$499.9

                                                        $10–$99.9
                                         1,400
                                                        Less than $10
Aggregate Fees and Expenses ($Million)




                                                                                                                         $1,202
                                         1,200                                                     $659
                                                               $1,090
                                                                                       $1,036                             $205
                                         1,000                  $177
                                                                                        $210
                                                                                                                          $251
                                          800
                                                                $351
                                                 $673
                                                                             $614                                                               $611
                                          600                                                                                        $577
                                                 $143                                   $481       $586
                                                                                                                                                $105
                                                                             $157                             $467                                         $451
                                                                $250                                                                 $240
                                          400    $202                                                                                                       $79
                                                                             $138                                         $700                  $224
                                                                                                              $226


                                          200                                           $280                                                               $302
                                                 $281           $254         $243                  $246                              $281
                                                                                                              $191                              $248

                                                 $47             $58            $76      $65        $61        $50        $46         $56        $34        $71
                                            0
                                                 2012            2013           2014     2015       2016       2017       2018       2019       2020       2021
                                                                                                    Settlement Year




26 www.nera.com
               Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 38 of 103


                          As settlement size increases, fees and expenses represent a declining percentage of settlement
                          value. More specifically, while the percentage is only 10.5% for cases that settled for over $1
                          billion in the last 10 years, for cases with settlement amounts under $5 million, fees and expenses
                          represent 34% of the settlement. See Figure 25.



Figure 25. Median of Plaintiffs’ Attorneys’ Fees and Expenses by Size of Settlement
           Excludes Merger Objections and Settlements for $0 to the Class


                               Percentage of Settlement Value   Settlement Value   Percentage of Settlement Value
                                                   1996–2011        ($Million)     2012–2021
                                                                                                                         

                                                                                                                         
                                     8.0% 0.4%         7.6%          ≥1,000           9.8%      0.7% 10.5%




                        17.7% 0.7%             17.0%             ≥500 and <1,000        17.0%           0.7% 17.7%




               23.9% 1.4%                 22.5%                  ≥100 and <500               24.5%             1.3% 25.8%




           26.8% 1.8%                  25.0%                      ≥25 and <100               25.0%                  2.1% 27.1%




  32.7% 2.7%                         30.0%                        ≥10 and <25                 27.5%                   2.2% 29.7%




 33.7% 3.7%                          30.0%                         ≥5 and <10                   30.0%                   2.7% 32.8%




35.3% 5.3%                           30.0%                             <5                       30.0%                    3.5% 33.5%




                                                                                                                    www.nera.com 27
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 39 of 103


                   Conclusion

                   New securities class action cases filed declined to 205 in 2021, the lowest number of annual
                   filings in the last 10 years but well within the historical range. This decline in total filings was
                   driven primarily by the 85% decrease in merger-objection cases between 2020 and 2021. Due
                   to the numerous filings related to SPACs, the percentage of cases alleging a violation related to
                   merger integration issues increased to 17% while violations related to misled future performance,
                   the most common allegation, were included in 40% of the 2021 suits filed. In 2021, there was a
                   decline in total resolutions, resulting from a notable decrease in the number of merger-objection
                   cases dismissed.

                   Of the 96% of cases with a motion to dismiss filed, a decision was reached in 73% of the cases
                   prior to resolution of the case, with the motion to dismiss granted in approximately 56% of these
                   cases. Among cases with a motion for class certification filed, a decision was reached in 56%
                   prior to the case resolution, with the motion for class certification granted in 83% of the cases
                   with a decision.

                   Aggregate settlements in 2021 amounted to $1.8 billion, the lowest total in the 2018–2021 period.
                   No cases resolved with a settlement amount of $1 billion or higher in the last year. The average
                   settlement value for all non-merger-objection cases with positive settlement values, and cases of
                   less than $1 billion, decreased in 2021 to $21 million. The median settlement value showed a similar
                   trend, declining by approximately 40% to $8 million.




28 www.nera.com
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 40 of 103


       Notes
       1 This edition of NERA’s report on “Recent Trends in             6 Here the word “dismissed” is used as shorthand for
         Securities Class Action Litigation” expands on previous          all cases resolved without settlement; it includes
         work by our colleagues Lucy P. Allen, Dr. Vinita                 cases in which a motion to dismiss was granted (and
         Juneja, Dr. Denise Neumann Martin, Dr. Jordan Milev,             not appealed or appealed unsuccessfully), voluntary
         Robert Patton, Dr. Stephanie Plancich, and others.               dismissals, cases terminated by a successful motion
         The authors thank Dr. David Tabak and Benjamin                   for summary judgment, or an unsuccessful motion for
         Seggerson for helpful comments on this edition. We               class certification.
         thank researchers in NERA’s Securities and Finance             7 See Janeen McIntosh and Svetlana Starykh, “Recent
         Practice for their valuable assistance. These individuals
                                                                          Trends in Securities Class Action Litigation: 2020 Full-
         receive credit for improving this report; any errors and
                                                                          Year Review,” NERA Economic Consulting, p. 13, Figure
         omissions are those of the authors. NERA’s proprietary
                                                                          11, available at https://www.nera.com/publications/
         securities class action database and all analyses
                                                                          archive/2021/recent-trends-in-securities-class-action-
         reflected in this report are limited to federal case filings
                                                                          litigation--2020-full-y.html.
         and resolutions.
                                                                        8 Analyses in this section exclude IPO laddering cases
       2 Data for this report were collected from multiple
                                                                          and merger-objection cases.
         sources, including Institutional Shareholder Services,
         complaints, case dockets, Dow Jones Factiva,                   9 NERA’s analysis of motions only includes securities class
         Bloomberg Finance, FactSet Research Systems, Nasdaq,             action suits involving common stock, with or without
         Intercontinental Exchange, US Securities and Exchange            other securities, and an allegation of Rule 10b-5
         Commission (SEC) filings, and public press reports.              violation alone or accompanied by Section 11, and/or
       3 NERA tracks class actions involving securities that              Section 12 violation.
         have been filed in federal courts. Most of these cases         10 For our analysis, NERA includes settlements that have
         allege violations of federal securities laws; others             had the first hearing of approval of case settlement
         allege violations of common law, including breach of             by the court. This means we do not include partial
         fiduciary duty, as with some merger-objection cases;             settlements or tentative settlements that have been
         still others are filed in federal court under foreign            announced by plaintiffs and/or defendants. When
         or state law. If multiple actions are filed against the          evaluating trends in average and median settlement
         same defendant, are related to the same allegations,             values, we limit our data to non-merger-objection
         and are in the same circuit, we treat them as a single           cases with settlements of more than $0 to the class.
         filing. However, the first two actions filed in different      11 NERA-Defined Investor Losses is only calculable
         circuits are treated as separate filings. If cases filed in
                                                                          for cases involving allegations of damages to
         different circuits are consolidated, we revise our count
                                                                          common stock over a defined class period. As
         to reflect the consolidation. Therefore, case counts
                                                                          a result, we have not calculated this metric for
         for a particular year may change over time. Different
                                                                          cases such as merger objections.
         assumptions for consolidating filings would probably
         lead to counts that are directionally similar but may,
         in certain circumstances, lead observers to draw a
         different conclusion about short-term trends in filings.
       4 Most securities class action complaints include multiple
         allegations. For this analysis, all allegations from the
         complaint are included and, as such, the total number
         of allegations exceeds the total number of filings.
       5 It is important to note that, due to the small number
         of cases in some of these categories, the findings
         summarized here may be driven by one or two cases.




                                                                                                            www.nera.com 29
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 41 of 103




       About NERA

       NERA Economic Consulting (www.nera.com) is a global firm of experts dedicated to applying
       economic, finance, and quantitative principles to complex business and legal challenges. For more
       than six decades, we have been creating strategies, studies, reports, expert testimony, and policy
       recommendations for government authorities and the world’s leading law firms and corporations.
       We bring academic rigor, objectivity, and real-world industry experience to issues arising from
       competition, regulation, public policy, strategy, finance, and litigation.

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Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 42 of 103




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Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 43 of 103




       Exhibit 2
 Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 44 of 103




                     Firm Résumé

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      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 45 of 103




       Monteverde & Associates PC was founded in 2016 and is a national class
action law firm committed to protecting shareholders from corporate wrongdoing.
The firm has significant experience litigating Mergers & Acquisitions and
Securities Class Actions, protecting investors and recovering damages in the
process. The legal team at the firm is passionate about all its cases and works
tirelessly to obtain the best possible outcome for our clients. The firm is recognized
as a preeminent securities firm listed in the Top 50 in the 2018, 2019 and 2020 ISS
Securities Class Action Services Report.
      The attorneys at Monteverde & Associates have been involved in a number
of cases recovering substantial amounts of money for shareholders or investors
through their litigation efforts, including in the selected list of cases below:


      TARGET COMPANY                     INCREASED CONSIDERATION OR
           ACQUIRED                           SETTLEMENT FUND
American Capital (2018)                           $17.5 million
Apollo Education (2017)                            $54 million
ClubCorp (2019)                                     $5 million
Comverge (2017)                                    $5.9 million
EnergySolutions (2014)                             $36 million
Envision Healthcare (2021)                        $17.4 million
Force Protection (2012)                            $11 million
Hansen Medical (2019)                              $7.5 million
Jaguar Animal (pending)                           $2.6 million
Jefferies Group (2015)                             $70 million
Mavenir Systems (2016)                              $3 million
MRV Communications (2021)                         $1.9 million
Orchard Enterprises (2014)                       $10.725 million
Syntroleum (2016)                                 $2.8 million
Transgenomic (2020)                               $1.95 million
West Marine (2020)                                $2.5 million
US Geothermal (2020)                              $6.5 million

       Monteverde & Associates has also changed the law in the 9th Circuit, by
lowering the standard of liability under Section 14(e) of the Exchange Act from
scienter to negligence to better protect shareholders. Varjabedian v. Emulex Corp.,
888 F.3d 399 (9th Cir. 2018).
2|Page
      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 46 of 103




Juan E. Monteverde
      Mr. Monteverde is the founder and managing partner for the firm. Mr.
Monteverde has over a decade of experience advocating shareholder rights. Mr.
Monteverde regularly handles high profile M&A cases seeking to maximize
shareholder value and has obtained monetary relief for shareholders.
        Mr. Monteverde has also broken new ground when it comes to challenging
proxies related to compensation issues post Dodd-Frank Act. Knee v. Brocade
Comm’ns Sys., Inc., No. 1-12-CV-220249, slip op. at 2 (Cal. Super. Ct. Santa Clara
Cnty. Apr. 10, 2012) (Kleinberg, J.) (enjoining the 2012 shareholder vote related to
executive compensation proxy disclosures). Mr. Monteverde also argued
successfully before the 9th Circuit to change the law and lowered the standard of
liability under Section 14(e) of the Exchange Act from scienter to negligence to
better protect shareholders. Varjabedian v. Emulex Corp., 888 F.3d 399 (9th Cir.
2018).
      Mr. Monteverde has been selected by Super Lawyers as a New York Metro
Rising Star in 2013, 2017 - 2019, and by Martindale-Hubbell as a Top Rated
Lawyer 2017 – 2020.
      Mr. Monteverde speaks regularly at ABA, PLI, ACI and other conferences
regarding merger litigation or executive compensation issues. Below is a list of
published articles by Mr. Monteverde:
      • Fair To Whom? Examining Delaware’s Fair Summary Standard

      • A Review of Trados and Its Impact

      • Emerging Trends in Say-on-Pay Disclosure

      • Battling for Say on Pay Transparency

      Mr. Monteverde graduated from California State University of Northridge
(B.S. Finance) and St. Thomas University School of Law (J.D., cum laude), where
he served as a Law Review Staff Editor.

      Mr. Monteverde is admitted to practice law in the State of New York, 2007.
3|Page
      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 47 of 103




David E. Bower
      Mr. Bower is of counsel with the firm since 2016 and has extensive
experience in securities and consumer class actions as well as corporate litigation
and complex commercial litigation matters.
       Mr. Bower has been in the private practice of law since 1981. Prior to
forming his own law firm, Law Offices of David E. Bower, in 1996, Mr. Bower
practiced for two years with the law firm Hornberger & Criswell where he
supervised and coordinated complex business litigation. From 1989 to 1994, he
was a partner with the law firm Rivers & Bower where he handled business,
construction, real estate, insurance, and personal injury litigation and business and
real estate transactions. From 1984 to 1989, he practiced in the insurance bad faith
defense and complex litigation department of the Los Angeles, California based
law firm of Gilbert, Kelley, Crowley & Jennett. From 1981 to 1984, he practiced
law in New York as a partner with the law firm Boysen, Scheffer & Bower. Mr.
Bower has extensive trial experience and has tried over 100 cases.
       Mr. Bower is a graduate of the Mediation Training Program at UCLA and
has a certification in Advanced Mediation Techniques. He has presided in over 200
mediations since becoming certified and is currently on the Los Angeles Superior
Court Pay Panel of mediators and arbitrators. He was previously the President of
the Board of A New Way of Life Reentry Project, a non-profit serving ex-convicts
seeking reentry into society as productive citizens.
      Mr. Bower is admitted to practice law in the State of New York, 1982, and
California, 1985.




4|Page
      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 48 of 103




Beth Keller
      Ms. Keller is of counsel with the firm since 2018 and has extensive
experience in securities class actions as well as corporate governance reform.
        For the last 16 years, she has focused her legal practice on shareholder rights
litigation. Prior to working with Monteverde & Associates, Ms. Keller was a
Partner at Faruqi & Faruqi, LLP, a nationally recognized securities firm based in
New York City, where she litigated shareholder class and derivative actions, and
served as head of the firm’s Shareholder Derivative Litigation Department. She
later became a founding Member of the boutique securities firm, Hynes Keller &
Hernandez, LLC, where she was involved in all aspects of the firm’s shareholder
advocacy practice.
       Ms. Keller has extensive litigation experience and has served as lead or co-
lead counsel in numerous complex cases in which she has achieved substantial
corporate governance measures and/or financial recoveries for the corporation and
its stockholders.
     Ms. Keller is admitted to practice law in the State of New York, 2003 and
New Jersey, 2002.




5|Page
       Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 49 of 103




Miles D. Schreiner
      Mr. Schreiner is a senior associate with the firm from its inception in 2016
and has experience in securities and consumer class action litigation.
        Prior to joining the firm, Mr. Schreiner was an associate at a national class
action firm where he represented clients in securities and consumer class action
litigation. Mr. Schreiner also previously gained experience in complex litigation as
an associate at a New York City firm that represents plaintiffs in civil RICO
actions. Mr. Schreiner is a cum laude graduate of Brooklyn Law School, where he
was a Dean’s Merit Scholar and served as a Law Review Editor. While in law
school, Mr. Schreiner developed practical skills through internships with the Kings
County Supreme Court Law Department, the Office of General Counsel at a major
New York hospital, and a boutique law firm that specializes in international fraud
cases.
Below is a list of published articles by Mr. Schreiner:
   •   Fair To Whom? Examining Delaware’s Fair Summary Standard

   •   The Delaware Courts’ Increasingly Laissez Faire Approach To Directorial Oversight

   •   Money-Back Guarantees Unlikely to Satisfy 'Superiority'

   •   A Deadly Combination: The Legal Response to America’s Prescription Drug Epidemic

      Mr. Schreiner graduated from Tulane University (B.A. in Political Science,
cum laude) and Brooklyn Law School (J.D., cum laude).

     Mr. Schreiner has been selected by Super Lawyers as a 2018 and 2019 New
York Metro Rising Star.
     Mr. Schreiner is admitted to practice law in the State of New York (2013)
and New Jersey (2012).




6|Page
      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 50 of 103




John W. Baylet
       John W. Baylet is an associate with the firm since 2017 and has experience
in financial services and securities class action litigation.
       Prior to joining the firm, Mr. Baylet gained experience at an internship with
the U.S. Securities and Exchange Commission in the New York Regional Office.
Before that, Mr. Baylet also attained knowledge in the securities industry at an
internship with the New York State Department of Financial Services and an
international brokerage firm and FCM.

       Mr. Baylet graduated from University of Georgia (B.B.A. in Finance) and
New York Law School (J.D.). During law school, Mr. Baylet was a Global Law
Fellow Scholar, associate for the Center for Business and Financial Law,
competitor and coach for the Moot Court Association, Public Service Certificate
recipient, and winner of the Ruben S. Fogel Commencement Award.

      Mr. Baylet is admitted to practice law in the State of New York, 2017.




7|Page
      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 51 of 103




Rossella Scarpa
      Rossella Scarpa started in the firm in 2019 as a law clerk and became an
associate in 2021. She has experience in financial services and securities class
action litigation.
       Ms. Scarpa graduated from Binghamton University (B.A. Economics and
Political Science) in 2017 and from St. John’s University School of Law (J.D.) in
2020. During law school, she was the Articles & Notes Editor for the St. John’s
American Bankruptcy Institute Law Review. Additionally, Ms. Scarpa was co-
chair for the 2019 FINRA Triathlon Competition hosted by St. John’s. Ms. Scarpa
was also a legal intern for the St. John’s Securities Arbitration Clinic.
       Ms. Scarpa externed for Magistrate Judge Katharine Parker of the United
States District Court for the Southern District of New York.
      Ms. Scarpa is admitted to practice law in the State of New York, 2021.




8|Page
      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 52 of 103




Jonathan Lerner
      Mr. Lerner is an attorney experienced in commercial litigation.
       Before joining the firm, Mr. Lerner worked for a real estate litigation firm
handling foreclosure litigation and federal consumer protection litigation, and has a
successful track record in New York appellate courts. He also has further
experience counseling individuals involved in consumer protection disputes and
landlord and tenant negotiations. During law school, Mr. Lerner was a legal intern
with the school’s consumer protection litigation clinic, where he investigated
fraudulent business practices directed at elderly New York City residents.

      Mr. Lerner is admitted to practice law in the State of New York, 2019.




9|Page
        Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 53 of 103




Ahmed Khattab
      Mr. Khattab is an attorney experienced in complex litigation with prior class
action litigation experience. He earned his Bachelor’s degree from Rutgers
University and his Juris Doctorate from the Syracuse University College of Law,
where he served as an Associate Member of the Moot Court Honor Society,
National Trial Team and Corporate Law Society.
        Prior to joining the firm, Mr. Khattab was an associate at a general
liability/complex litigation firm in NY and gained experience at the Litigation
Bureau of the New York State Office of the Attorney General. Mr. Khattab also
served as a judicial law clerk and mediator for the New Jersey Superior Court.
        Mr. Khattab is admitted to practice law in the State of New York, 2021.




10 | P a g e
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 54 of 103




          Exhibit 3
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                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 55 of 103




         1                                                         THE HONORABLE BENJAMIN H. SETTLE
         2

         3

         4

         5

         6

         7
                                           UNITED STATES DISTRICT COURT
         8                                WESTERN DISTRICT OF WASHINGTON
                                                 TACOMA DIVISION
         9

        10
               EVAN BROWN, Individually and on Behalf              Case No. 19-cv-05514-BHS
        11     of All Others Similarly Situated,
        12                                       Plaintiff,        DECLARATION OF LEAD PLAINTIFF
                                                                   EVAN BROWN
        13             v.
        14     PAPA MURPHY’S HOLDINGS, INC. and
               WELDON SPANGLER,
        15
                                                 Defendants.
        16

        17

        18

        19
        20

        21

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                DECLARATION OF LEAD PLAINTIFF
                EVAN BROWN
                Case No. 19-cv-5514-BHS
                                                               1
DocuSign Envelope ID: EC690075-490A-4E12-B219-6908FECC2B1F
                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 56 of 103




         1    I, Evan Brown, hereby declare as follows:
         2            1.     I am the Court appointed Lead Plaintiff in the above-captioned class action
         3    (“Action”).
         4            2.     I submit this declaration in support of the Settlement and my request for an
         5    incentive award in the amount of $5,000 for the time I have spent actively engaged as Lead
         6    Plaintiff in this Action.
         7            3.     Over the last three years, I have regularly communicated with Juan E. Monteverde
         8    at Monteverde & Associates PC (“Lead Counsel”) regarding this Action.
         9            4.     Moreover, I participated in the following tasks and assisted in prosecuting the case,
        10    including but not limited to: (i) evaluating the Tender Offer and contacting Mr. Monteverde to
        11    discuss a potential class action; (ii) reviewing the pleadings and motions filed in this case; (iii)
        12    discussing and considering Defendants’ appeal to the Ninth Circuit; (iv) discussing and
        13    considering the potential settlement and Settlement with Lead Counsel; and (v) reviewing the
        14    Settlement papers.
        15            5.     As Lead Plaintiff for the Settlement Class, I have spent at least 40 hours of my time
        16    actively participating in the Action.
        17            6.     As of the date of the Tender Offer, April 25, 2019, and through consummation of
        18    the Tender Offer on May 22, 2019, I continuously held common stock in Papa Murphy’s.
        19            7.     I understand that the Private Securities Litigation Reform Act of 1995, 15 U.S.C. §
        20    78u-4(a)(4) authorizes reimbursement of lead plaintiff’s reasonable time and expenses.
        21    Therefore, I seek reimbursement of $5,000 for the time and expenses I incurred directly relating
        22    to my representation of the Settlement Class in this Action.
        23            8.     I declare under penalty of perjury under the laws of the United States of America
        24    that the foregoing is true and correct.
                                 3/4/2022
        25            Dated: __________________                    ____________________________
                                                                            Evan Brown
        26

                DECLARATION OF LEAD PLAINTIFF
                EVAN BROWN
                Case No. 19-cv-5514-BHS
                                                               2
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 57 of 103




          Exhibit 4
                                        Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 58 of 103
                                                                                                                                                                Professional = All (Active Only)
Time Entries                                                                                                                                                     Group By Professional Group
                                                                                                                                                   Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                    Task Code = All
                                                                                                                                                                                View = Original
                                                                                                                                                             From 04-01-2019 To 03-21-2022
Date           Status         Approval             BillableType      Task                           Professional                    Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Baylet, John
04-29-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       3.000      575.00            1,725.00
               02 - Pleading
               Review and analyze SEC filings and public information; draft complaint
04-30-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       4.500      575.00            2,587.50
               02 - Pleading
               Draft and edit complaint
05-01-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       4.000      575.00            2,300.00
               02 - Pleading
               Draft and edit complaint
05-03-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       1.500      575.00              862.50
               02 - Pleading
               Edit and finalize complaint for filing
                                                                     11 - Correspondence/
05-07-2019     Approved                            Billable                                         Baylet, John                                       0.500      575.00              287.50
                                                                     Communications
               11 - Correspondence/Communications
               Draft and edit ltr to Judge Marrero; Send FeEx courtesy copy of amended complaint
05-17-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       4.500      575.00            2,587.50
               02 - Pleading
               Review and analyze SEC and case filings; investigate potential post-close case; discuss case strategy; draft email memo
05-31-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       9.000      575.00            5,175.00
               02 - Pleading
               Review and analyze case and SEC filings; investigate post-close complaint; discuss case strategy; legal research; draft and edit
               post-close complaint
06-03-2019     Approved                            Billable          02 - Pleading                  Baylet, John                                       5.000      575.00            2,875.00
               02 - Pleading
               Draft and edit post-close complaint
                                                                     01 - Case Development,
06-06-2019     Approved                            Billable          Investigation and review       Baylet, John                                       0.500      575.00              287.50
                                                                     corporate filings
               01 - Case Development, Investigation and review corporate filings
               Review and analyze case filings and public information
                                                                     01 - Case Development,
06-17-2019     Approved                            Billable          Investigation and review       Baylet, John                                       0.500      575.00              287.50
                                                                     corporate filings
               01 - Case Development, Investigation and review corporate filings
               Review and analyze case and public filings; coordinate with co-counsel
                                                                     11 - Correspondence/
06-18-2019     Approved                            Billable                                         Baylet, John                                       0.800      575.00              460.00
                                                                     Communications

03-21-2022 16:00:15                                                                                                                                              Page         1     of      27
                                       Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 59 of 103
                                                                                                                                                              Professional = All (Active Only)
Time Entries                                                                                                                                                   Group By Professional Group
                                                                                                                                                 Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                  Task Code = All
                                                                                                                                                                              View = Original
                                                                                                                                                           From 04-01-2019 To 03-21-2022
Date           Status         Approval            BillableType        Task                            Professional                Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Baylet, John
               11 - Correspondence/Communications
               Draft and edit stipulation for briefing schedule
                                                                      11 - Correspondence/
06-20-2019     Approved                           Billable                                            Baylet, John                                   1.500      575.00              862.50
                                                                      Communications
               11 - Correspondence/Communications
               Review and analyze case and public flings; draft and edit stipulation
06-27-2019     Approved                           Billable            05 - Motion                     Baylet, John                                   6.500      575.00            3,737.50
               05 - Motion
               Review and analyze case and SEC filings; research multi district lead plaintiff cases; draft LP motion
07-01-2019     Approved                           Billable            05 - Motion                     Baylet, John                                   3.000      575.00            1,725.00
               05 - Motion
               review docket and ensure PSLRA cert is on file; legal research re: venue transfer and PSLRA
07-03-2019     Approved                           Billable            05 - Motion                     Baylet, John                                   3.500      575.00            2,012.50
               05 - Motion
               Edit and finalize LP motion for filing
10-07-2019     Approved                           Billable            05 - Motion                     Baylet, John                                   0.200      575.00              115.00
               05 - Motion
               Review and analyze motion to withdraw LP; discuss strategy
11-07-2019     Approved                           Billable            02 - Pleading                   Baylet, John                                   2.500      575.00            1,437.50
               02 - Pleading
               Review and analyze case and SEC filings and other public information; research for amended complaint
11-08-2019     Approved                           Billable            02 - Pleading                   Baylet, John                                   8.500      575.00            4,887.50
               02 - Pleading
               Review and analyze case and SEC filings and other public information; research,draft, and edit amended complaint
02-27-2020     Approved                           Billable            05 - Motion                     Baylet, John                                   1.500      575.00              862.50
               05 - Motion
               Review and analyze D-9, amended complaint, and MTDs; discuss case strategy
02-28-2020     Approved                           Billable            05 - Motion                     Baylet, John                                   0.300      575.00              172.50
               05 - Motion
               Discuss strategy for MTD opp
03-02-2020     Approved                           Billable            05 - Motion                     Baylet, John                                   3.000      575.00            1,725.00
               05 - Motion
               Review and analyze 14D-9 and amended complaint; review and analyze Defendants' MTD briefs; discuss case strategy
03-06-2020     Approved                           Billable            05 - Motion                     Baylet, John                                   8.000      575.00            4,600.00
               05 - Motion
               Draft MTD Opp
03-09-2020     Approved                           Billable            05 - Motion                     Baylet, John                                  13.500      575.00            7,762.50


03-21-2022 16:00:15                                                                                                                                            Page         2     of      27
                                      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 60 of 103
                                                                                                                                                                    Professional = All (Active Only)
Time Entries                                                                                                                                                         Group By Professional Group
                                                                                                                                                       Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                        Task Code = All
                                                                                                                                                                                    View = Original
                                                                                                                                                                 From 04-01-2019 To 03-21-2022
Date           Status        Approval            BillableType        Task                            Professional                   Start    Stop      Duration          Rate           Amount
Papa Murphy's
Merger
Baylet, John
               05 - Motion
               Draft edit and finalize MTD Opp
                                                                     01 - Case Development,
04-03-2020     Approved                          Billable            Investigation and review        Baylet, John                                          0.100      575.00                 57.50
                                                                     corporate filings
               01 - Case Development, Investigation and review corporate filings
               Review and discuss case status and strategy with managing partner
05-21-2020     Approved                          Billable            05 - Motion                     Baylet, John                                          1.100      575.00              632.50
               05 - Motion
               Review and analyze MTD R&R; discuss
05-28-2020     Approved                          Billable            02 - Pleading                   Baylet, John                                          0.500      575.00              287.50
               02 - Pleading
               Review and analyze complaint
06-03-2020     Approved                          Billable            02 - Pleading                   Baylet, John                                          2.600      575.00            1,495.00
               02 - Pleading
               Review and analyze case and SEC filings, including Recommendation Statement, Amended Complaint, and Report and
               Recommendation to dismiss the amended complaint
06-04-2020     Approved                          Billable            02 - Pleading                   Baylet, John                                          4.700      575.00            2,702.50
               02 - Pleading
               Review and analyze SEC filings and other public information; draft and edit amended complaint
06-05-2020     Approved                          Billable            02 - Pleading                   Baylet, John                                          7.400      575.00            4,255.00
               02 - Pleading
               Discuss case strategy; legal research; draft and edit amended complaint
07-10-2020     Approved                          Billable            05 - Motion                     Baylet, John                                          2.400      575.00            1,380.00
               05 - Motion
               Review and analyze case and SEC filings; edit second amended complaint; discuss with senior associate
09-30-2020     Approved                          Billable            05 - Motion                     Baylet, John                                          3.200      575.00            1,840.00
               05 - Motion
               Review and analyze MTD and previous MTD order; legal research regarding MTD; discuss strategy for MTD with fellow associate
10-05-2020     Approved                          Billable            05 - Motion                     Baylet, John                                          2.400      575.00            1,380.00
               05 - Motion
               Review and analyze case filings, SEC filings, and other publicly available Papa Murphy's information; review and analyze latest draft
               of MTD opp and discuss same with senior associate
10-06-2020     Approved                          Billable            05 - Motion                     Baylet, John                                          1.800      575.00            1,035.00
               05 - Motion
               Review and analyze MTD opp; discuss with senior associate; legal research regarding make of statement under Exchange Act
10-07-2020     Approved                          Billable            05 - Motion                     Baylet, John                                          8.200      575.00            4,715.00


03-21-2022 16:00:15                                                                                                                                                  Page         3     of      27
                                       Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 61 of 103
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Time Entries                                                                                                                                                       Group By Professional Group
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Monteverde & Associates PC                                                                                                                                                      Task Code = All
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                                                                                                                                                               From 04-01-2019 To 03-21-2022
Date           Status         Approval            BillableType       Task                           Professional                    Start   Stop     Duration          Rate           Amount
Papa Murphy's
Merger
Baylet, John
               05 - Motion
               Review and analyze case documents, SEC filings, and other public Papa Murphy's information; legal research regarding disclosure
               of misleading projections; draft and edit MTD opp
10-08-2020     Approved                           Billable           05 - Motion                    Baylet, John                                        10.700      575.00            6,152.50
               05 - Motion
               Edit and finalize MTD opp brief for filing
10-09-2020     Approved                           Billable           05 - Motion                    Baylet, John                                         0.600      575.00              345.00
               05 - Motion
               Review and analyze supplemental authority; review and analyze notice of supplemental authority; discuss same with senior
               associate
11-03-2020     Approved                           Billable           05 - Motion                    Baylet, John                                         3.800      575.00            2,185.00
               05 - Motion
               Review and analyze: Def reply brief; Decl in support thereof; 10-K cited therein; SAC; MTD Opp; earnings call transcripts; and case
               notes. Review, edit, and discuss, sur reply to strike documents included in reply
01-12-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         1.800      575.00            1,035.00
               05 - Motion
               Review and analyze Report and Recommendation concerning Def MTD; Compare to original R&R
01-27-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         1.600      575.00              920.00
               05 - Motion
               Review and analyze Def objections to R&R
02-11-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         5.500      575.00            3,162.50
               05 - Motion
               Review and analyze Def objection to R&R; Review and analyze first and second R&R; review and analyze Def MTD1 and reply 1
               and MTD2 and reply 2; review and edit responses to R&R; discuss with senior associate
02-19-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         0.800      575.00              460.00
               05 - Motion
               Review and analyze Def Reply ISO MTD
04-12-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         0.500      575.00              287.50
               05 - Motion
               Review and analyze Response to Def Notice Re Emulex
04-22-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         0.800      575.00              460.00
               05 - Motion
               Review and annotate MTD Order affirming R&R
05-07-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         0.600      575.00              345.00
               05 - Motion
               Review and analyze motion for interlocutory appeal
05-13-2021     Approved                           Billable           05 - Motion                    Baylet, John                                         3.800      575.00            2,185.00



03-21-2022 16:00:15                                                                                                                                                Page         4     of      27
                                      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 62 of 103
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Time Entries                                                                                                                                                        Group By Professional Group
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Monteverde & Associates PC                                                                                                                                                       Task Code = All
                                                                                                                                                                                   View = Original
                                                                                                                                                                From 04-01-2019 To 03-21-2022
Date           Status         Approval           BillableType         Task                            Professional                    Start    Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Baylet, John
               05 - Motion
               Review and analyze motion for interlocutory appeal; review and analyze all subsequent MTD briefing and each opinion from the
               Court; legal research regarding 1292(b); draft internal memorandum regarding the inappropriateness of challenging the sufficiency of
               pleadings on interlocutory appeal
06-23-2021     Approved                          Billable             05 - Motion                     Baylet, John                                        1.800      575.00            1,035.00
               05 - Motion
               Review and analyze opinions and briefing; review edit and discuss Obj to R&R with senior associate
08-06-2021     Approved                          Billable             05 - Motion                     Baylet, John                                        0.400      575.00              230.00
               05 - Motion
               Review, analyze, and discuss Order adopting R&R, certifying interlocutory appeal, and staying proceedings
08-16-2021     Approved                          Billable             16 - Appeal                     Baylet, John                                        0.800      575.00              460.00
               16 - Appeal
               Review and analyze Def brief seeking appeal; discuss same with managing partner and senior associate
09-08-2021     Approved                          Billable             16 - Appeal                     Baylet, John                                        2.200      575.00            1,265.00
               16 - Appeal
                Review and analyze opposition to petition for interlocutory appeal; research statutory scheme and private right of action; discuss
               same with senior associate
09-08-2021     Approved                          Billable             13 - Experts                    Baylet, John                                        0.800      575.00              460.00
               13 - Experts
               Review and analyze financial expert's damages model; review and analyze Recommendation Statement and other information;
               discuss damages with managing partner and senior associate
09-09-2021     Approved                          Billable             16 - Appeal                     Baylet, John                                        2.800      575.00            1,610.00
               16 - Appeal
               Review and edit opposition to petition for interlocutory appeal; discuss same with senior associate
09-20-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                        2.100      575.00            1,207.50
               09 - Settlement/Mediation
                Review and analyze SEC filings and case file; aggregate various share counts based on institutional holdings; discuss potential
               class and settlement options with managing partner
10-12-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                        6.800      575.00            3,910.00
               09 - Settlement/Mediation
               Review and analyze case file; draft and edit settlement documents; legal research on settlements in WD Wash; discuss same with
               managing partner and senior associate
10-14-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                        3.200      575.00            1,840.00
               09 - Settlement/Mediation
               Draft and edit settlement documents
10-15-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                        6.200      575.00            3,565.00
               09 - Settlement/Mediation
               Review, analyze, draft, and edit settlement documents; discuss Def edits to term sheet with managing partner and senior associate
10-25-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                        2.200      575.00            1,265.00

03-21-2022 16:00:15                                                                                                                                                 Page         5     of      27
                                       Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 63 of 103
                                                                                                                                                                  Professional = All (Active Only)
Time Entries                                                                                                                                                       Group By Professional Group
                                                                                                                                                     Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                      Task Code = All
                                                                                                                                                                                  View = Original
                                                                                                                                                               From 04-01-2019 To 03-21-2022
Date           Status         Approval           BillableType         Task                            Professional                    Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Baylet, John
               09 - Settlement/Mediation
               Review and analyze stipulation and corresponding docs
10-28-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                       6.200      575.00            3,565.00
               09 - Settlement/Mediation
               Draft and edit Stipulation of Settlement, Supplemental Agreement, Proposed Order Preliminarily Approving the Settlement, Notice of
               Pendency, Summary Notice, Proof of Claim and Release, and Proposed Order and Final Judgment
10-29-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                       6.800      575.00            3,910.00
               09 - Settlement/Mediation
               Draft and edit Stipulation of Settlement, Supplemental Agreement, Proposed Order Preliminarily Approving the Settlement, Notice of
               Pendency, Summary Notice, Proof of Claim and Release, and Proposed Order and Final Judgment
11-01-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                       6.800      575.00            3,910.00
               09 - Settlement/Mediation
               Draft and edit Stipulation of Settlement, Supplemental Agreement, Proposed Order Preliminarily Approving the Settlement, Notice of
               Pendency, Summary Notice, Proof of Claim and Release, and Proposed Order and Final Judgment
11-02-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                       2.100      575.00            1,207.50
               09 - Settlement/Mediation
               Draft and edit Preliminarily Approval Brief
11-12-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                       1.800      575.00            1,035.00
               09 - Settlement/Mediation
               Review and analyze Def edits to settlement documents; discuss edits with managing partner and associates
11-19-2021     Approved                          Billable             05 - Motion                     Baylet, John                                       0.300      575.00              172.50
               05 - Motion
               Review and analyze Joint Motion to Remand
11-30-2021     Approved                          Billable             09 - Settlement/Mediation       Baylet, John                                       2.800      575.00            1,610.00
               09 - Settlement/Mediation
               Draft and edit preliminary approval brief; discuss same with associate; coordinate finalization of settlement papers
03-04-2022     Approved                          Billable             15 - Research                   Baylet, John                                       0.600      575.00              345.00
               15 - Research
               Discuss final approval briefing with associate; perform and summarize legal research for relevant WD Wash authority
                                                                                                                                Professional Total    207.400                       119,255.00
Monteverde, Juan
                                                                      01 - Case Development,
04-12-2019     Approved                          Billable             Investigation and review        Monteverde, Juan                                   6.500      875.00            5,687.50
                                                                      corporate filings
               01 - Case Development, Investigation and review corporate filings re new deal and PR
                                                                      11 - Correspondence/
04-24-2019     Approved                          Billable                                             Monteverde, Juan                                   3.600      875.00            3,150.00
                                                                      Communications
               11 - Correspondence/Communications - confer with client re potential case and review/finalize retainer agreement

03-21-2022 16:00:15                                                                                                                                                Page         6     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 64 of 103
                                                                                                                                                                 Professional = All (Active Only)
Time Entries                                                                                                                                                      Group By Professional Group
                                                                                                                                                    Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                     Task Code = All
                                                                                                                                                                                 View = Original
                                                                                                                                                              From 04-01-2019 To 03-21-2022
Date         Status         Approval           BillableType          Task                          Professional                    Start     Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
                                                                     01 - Case Development,
04-26-2019   Approved                          Billable              Investigation and review      Monteverde, Juan                                     9.500      875.00            8,312.50
                                                                     corporate filings
             01 - Case Development, Investigation and review corporate filings including 14d-9 and tender offer documents
                                                                     01 - Case Development,
04-29-2019   Approved                          Billable              Investigation and review      Monteverde, Juan                                     4.500      875.00            3,937.50
                                                                     corporate filings
             01 - Case Development, Investigation and review corporate filings and discuss potential issues w John
04-30-2019   Approved                          Billable              15 - Research                 Monteverde, Juan                                     1.200      875.00            1,050.00
             15 - Research - review complaint filed by shareholders in Federal Court and forward internally
                                                                     11 - Correspondence/
05-01-2019   Approved                          Billable                                            Monteverde, Juan                                     0.500      875.00              437.50
                                                                     Communications
             11 - Correspondence/Communications with client Brown and send draft complaint
05-01-2019   Approved                          Billable              02 - Pleading                 Monteverde, Juan                                     6.500      875.00            5,687.50
             02 - Pleading - review draft complaint and edit, confer internally re same
05-03-2019   Approved                          Billable              02 - Pleading                 Monteverde, Juan                                     1.700      875.00            1,487.50
             02 - Pleading - finalize complaint, forward copy to client and file in SDNY
                                                                     11 - Correspondence/
05-03-2019   Approved                          Billable                                            Monteverde, Juan                                     0.400      875.00              350.00
                                                                     Communications
             11 - Correspondence/Communications - ascertain deal counsel and send complaint for service
05-22-2019   Approved                          Billable              12 - Analyze and review       Monteverde, Juan                                     2.400      875.00            2,100.00
             12 - Analyze and review potential damages case and confer with client re same and explain PSLRA process
                                                                     01 - Case Development,
05-24-2019   Approved                          Billable              Investigation and review      Monteverde, Juan                                     7.500      875.00            6,562.50
                                                                     corporate filings
             01 - Case Development, Investigation and review corporate filings and summary for damages case
                                                                     11 - Correspondence/
05-31-2019   Approved                          Billable                                            Monteverde, Juan                                     0.400      875.00              350.00
                                                                     Communications
             11 - Correspondence/Communications with client re litigation strategy and next steps, including dismissing SDNY and refile in
             WDWA where company is located
                                                                     11 - Correspondence/
05-31-2019   Approved                          Billable                                            Monteverde, Juan                                     0.500      875.00              437.50
                                                                     Communications
             11 - Correspondence/Communications w Roger T. - WA counsel re potential case - various emails and discuss Emulex victory
06-03-2019   Approved                          Billable              14 - Meeting/Strategy         Monteverde, Juan                                     0.400      875.00              350.00
             14 - Meeting/Strategy w John and Miles re next steps and how to deal with other cases on file or that may get filed



03-21-2022 16:00:15                                                                                                                                               Page         7     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 65 of 103
                                                                                                                                                              Professional = All (Active Only)
Time Entries                                                                                                                                                   Group By Professional Group
                                                                                                                                                 Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                  Task Code = All
                                                                                                                                                                              View = Original
                                                                                                                                                           From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType          Task                        Professional                    Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
                                                                      11 - Correspondence/
06-03-2019   Approved                           Billable                                          Monteverde, Juan                                   0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications w Roger T. and agree on local fee.
06-03-2019   Approved                           Billable              02 - Pleading               Monteverde, Juan                                   4.800      875.00            4,200.00
             02 - Pleading - review draft complaint for damages in WDWA, discuss with client and dismiss SDNY case
                                                                      11 - Correspondence/
06-04-2019   Approved                           Billable                                          Monteverde, Juan                                   0.200      875.00              175.00
                                                                      Communications
             11 - Correspondence/Communications w Roger T re conflicts and green light to file
                                                                      11 - Correspondence/
06-06-2019   Approved                           Billable                                          Monteverde, Juan                                   0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications w Roger T re filing and phv
06-06-2019   Approved                           Billable              02 - Pleading               Monteverde, Juan                                   5.200      875.00            4,550.00
             02 - Pleading - review financial information for Papa and edit complaint, confer w client re same and w WA counsel
06-07-2019   Approved                           Billable              02 - Pleading               Monteverde, Juan                                   3.100      875.00            2,712.50
             02 - Pleading - approve and file complaint in WA fed. ct.
                                                                      11 - Correspondence/
06-10-2019   Approved                           Billable                                          Monteverde, Juan                                   0.200      875.00              175.00
                                                                      Communications
             11 - Correspondence/Communications with Ron B re case and request for service
06-12-2019   Approved                           Billable              12 - Analyze and review     Monteverde, Juan                                   0.500      875.00              437.50
             12 - Analyze and review Chancery court order re mootness fee
                                                                      11 - Correspondence/
06-12-2019   Approved                           Billable                                          Monteverde, Juan                                   0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications w Ron B re DE Chancery order
                                                                      11 - Correspondence/
06-17-2019   Approved                           Billable                                          Monteverde, Juan                                   0.600      875.00              525.00
                                                                      Communications
             11 - Correspondence/Communications - coordinate w John and WA counsel re next steps
                                                                      11 - Correspondence/
06-18-2019   Approved                           Billable                                          Monteverde, Juan                                   0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications w Ron B re stip
06-18-2019   Approved                           Billable              05 - Motion                 Monteverde, Juan                                   0.400      875.00              350.00
             12 - Analyze and review and edit stip re briefing for case
06-20-2019   Approved                           Billable              05 - Motion                 Monteverde, Juan                                   0.300      875.00              262.50
             05 - Motion - review and edit briefing schedule sitp
06-27-2019   Approved                           Billable              05 - Motion                 Monteverde, Juan                                   1.800      875.00            1,575.00
             05 - Motion - review/edit LP brief and confer re certification


03-21-2022 16:00:15                                                                                                                                            Page         8     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 66 of 103
                                                                                                                                                    Professional = All (Active Only)
Time Entries                                                                                                                                         Group By Professional Group
                                                                                                                                       Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                        Task Code = All
                                                                                                                                                                    View = Original
                                                                                                                                                 From 04-01-2019 To 03-21-2022
Date         Status         Approval           BillableType          Task                            Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
                                                                     11 - Correspondence/
07-01-2019   Approved                          Billable                                              Monteverde, Juan                      0.300      875.00              262.50
                                                                     Communications
             11 - Correspondence/Communications w counsel for North Point and send briefing schedule
07-03-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      1.200      875.00            1,050.00
             05 - Motion - review LP brief for D DE and confer w DE counsel re same
07-10-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      0.500      875.00              437.50
             05 - Motion - review/approve mtd briefing stip
08-12-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      4.200      875.00            3,675.00
             05 - Motion - review/edit lead brief, confer w client re same and procedural steps to follow
08-13-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      0.300      875.00              262.50
             05 - Motion - review LP filing and docket re other movants, email internally
09-09-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      0.300      875.00              262.50
             05 - Motion - review lead order and schedule, email internally
09-09-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      1.000      875.00              875.00
             05 - Motion - review lead order and confer w client re same and next steps
                                                                     11 - Correspondence/
09-17-2019   Approved                          Billable                                              Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications w Roger T re next steps
                                                                     11 - Correspondence/
09-20-2019   Approved                          Billable                                              Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications w Ron B re stip for pleading and mtd
09-24-2019   Approved                          Billable              14 - Meeting/Strategy           Monteverde, Juan                      1.000      875.00              875.00
             14 - Meeting/Strategy - informing DE court re WA lead order and withdraw lead in DE
                                                                     11 - Correspondence/
10-01-2019   Approved                          Billable                                              Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications w WA counsel re stip
10-07-2019   Approved                          Billable              05 - Motion                     Monteverde, Juan                      0.500      875.00              437.50
             05 - Motion - draft withdrawal for lead in DE
10-30-2019   Approved                          Billable              15 - Research                   Monteverde, Juan                     11.500      875.00          10,062.50
             15 - Research - review case law and subjective falsity cases for amended complaint
11-01-2019   Approved                          Billable              02 - Pleading                   Monteverde, Juan                      7.200      875.00            6,300.00
             02 - Pleading - draft amended complaint
11-04-2019   Approved                          Billable              15 - Research                   Monteverde, Juan                      8.000      875.00            7,000.00
             15 - Research - review case law re objective and subjective falsity in projections
11-04-2019   Approved                          Billable              14 - Meeting/Strategy           Monteverde, Juan                      0.300      875.00              262.50
03-21-2022 16:00:15                                                                                                                                  Page         9     of      27
                                    Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 67 of 103
                                                                                                                                             Professional = All (Active Only)
Time Entries                                                                                                                                  Group By Professional Group
                                                                                                                                Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                 Task Code = All
                                                                                                                                                             View = Original
                                                                                                                                          From 04-01-2019 To 03-21-2022
Date         Status        Approval            BillableType       Task                        Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
             14 - Meeting/Strategy with team re amended complaint
11-06-2019   Approved                          Billable           15 - Research               Monteverde, Juan                      6.500      875.00            5,687.50
             15 - Research - financial outlook for Papa Murphy, review 10ks and 10qs
11-07-2019   Approved                          Billable           02 - Pleading               Monteverde, Juan                      9.000      875.00            7,875.00
             02 - Pleading - review/edit amended complaint
                                                                  11 - Correspondence/
11-08-2019   Approved                          Billable                                       Monteverde, Juan                      0.700      875.00              612.50
                                                                  Communications
             11 - Correspondence/Communications w Roger T and client re amended complaint and filing
                                                                  11 - Correspondence/
12-27-2019   Approved                          Billable                                       Monteverde, Juan                      0.300      875.00              262.50
                                                                  Communications
             11 - Correspondence/Communications w Sean K and Roger T re page limits
01-03-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      0.200      875.00              175.00
             05 - Motion review order re page limit re mtd
01-09-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      8.000      875.00            7,000.00
             05 - Motion - review and annotate MTD
01-13-2020   Approved                          Billable           15 - Research               Monteverde, Juan                      6.800      875.00            5,950.00
             15 - Research - preliminary research and review of cited cases in MTD
01-14-2020   Approved                          Billable           15 - Research               Monteverde, Juan                      5.000      875.00            4,375.00
             15 - Research - cases cited in MTD
01-15-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      3.700      875.00            3,237.50
             05 - Motion - outline issues for opp to MTD
02-25-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      3.200      875.00            2,800.00
             05 - Motion - confer w Miles and share/compare outline views re opp to mtd
03-05-2020   Approved                          Billable           15 - Research               Monteverde, Juan                      7.200      875.00            6,300.00
             15 - Research - research case law and summarize as necessary to opp to mtd
03-06-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      8.800      875.00            7,700.00
             05 - Motion - review/edit MTD opp
03-07-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      4.800      875.00            4,200.00
             05 - Motion - review/edit draft opp to mtd and comment re same
03-08-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      2.600      875.00            2,275.00
             05 - Motion - review and edit opp to mtd
                                                                  11 - Correspondence/
03-09-2020   Approved                          Billable                                       Monteverde, Juan                      0.400      875.00              350.00
                                                                  Communications
             11 - Correspondence/Communications w client Brown re opp to mtd and dropping north point as def
03-09-2020   Approved                          Billable           05 - Motion                 Monteverde, Juan                      6.500      875.00            5,687.50
03-21-2022 16:00:15                                                                                                                           Page        10     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 68 of 103
                                                                                                                                                          Professional = All (Active Only)
Time Entries                                                                                                                                               Group By Professional Group
                                                                                                                                             Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                              Task Code = All
                                                                                                                                                                          View = Original
                                                                                                                                                       From 04-01-2019 To 03-21-2022
Date         Status         Approval           BillableType          Task                            Professional            Start    Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
             05 - Motion - review/revise/edit opp to mtd and approve filling
04-09-2020   Approved                          Billable              05 - Motion                     Monteverde, Juan                            6.000      875.00            5,250.00
             05 - Motion - review and annotate reply to mtd
04-10-2020   Approved                          Billable              05 - Motion                     Monteverde, Juan                            5.500      875.00            4,812.50
             05 - Motion - review and annotate reply to mtd
04-11-2020   Approved                          Billable              15 - Research                   Monteverde, Juan                            7.500      875.00            6,562.50
             15 - Research - review cases in reply to mtd and annotate re issues for oral argument
05-20-2020   Approved                          Billable              05 - Motion                     Monteverde, Juan                            3.500      875.00            3,062.50
             05 - Motion - review an annotate R&R re mtd
05-21-2020   Approved                          Billable              05 - Motion                     Monteverde, Juan                            4.500      875.00            3,937.50
             05 - Motion - further review and discuss R&R re mtd w Mies and John, confer w client re same
05-22-2020   Approved                          Billable              05 - Motion                     Monteverde, Juan                            3.500      875.00            3,062.50
             05 - Motion - review R&R and consider next steps
                                                                     11 - Correspondence/
05-26-2020   Approved                          Billable                                              Monteverde, Juan                            0.300      875.00              262.50
                                                                     Communications
             11 - Correspondence/Communications w Ron B re R&R
                                                                     11 - Correspondence/
05-27-2020   Approved                          Billable                                              Monteverde, Juan                            0.400      875.00              350.00
                                                                     Communications
             11 - Correspondence/Communications w Ron B and agreement to forego objections to R&R w amended pleading
06-05-2020   Approved                          Billable              02 - Pleading                   Monteverde, Juan                            8.000      875.00            7,000.00
             02 - Pleading - review case law and subjective falsity re CEO, discuss amended complaint
06-11-2020   Approved                          Billable              02 - Pleading                   Monteverde, Juan                            5.400      875.00            4,725.00
             02 - Pleading - review earnings transcripts and CEO statements, confer w Miles and game plan for 2nd amended complaint
06-13-2020   Approved                          Billable              02 - Pleading                   Monteverde, Juan                            3.500      875.00            3,062.50
             02 - Pleading - outline for 2nd amended complaint
07-01-2020   Approved                          Billable              02 - Pleading                   Monteverde, Juan                            6.000      875.00            5,250.00
             02 - Pleading - review SEC fillings and issues to include in amended complaint
07-06-2020   Approved                          Billable              14 - Meeting/Strategy           Monteverde, Juan                            0.600      875.00              525.00
             14 - Meeting/Strategy - prep and meet w team re issues for amended complaint
07-07-2020   Approved                          Billable              02 - Pleading                   Monteverde, Juan                            7.000      875.00            6,125.00
             02 - Pleading - review/edit 2nd amended complaint
07-08-2020   Approved                          Billable              15 - Research                   Monteverde, Juan                            4.800      875.00            4,200.00
             15 - Research - review financials re Papa Murphy and best statements from CEO for 2nd amended compl
07-09-2020   Approved                          Billable              02 - Pleading                   Monteverde, Juan                            2.500      875.00            2,187.50

03-21-2022 16:00:15                                                                                                                                        Page        11     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 69 of 103
                                                                                                                                            Professional = All (Active Only)
Time Entries                                                                                                                                 Group By Professional Group
                                                                                                                               Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                Task Code = All
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                                                                                                                                         From 04-01-2019 To 03-21-2022
Date         Status         Approval             BillableType         Task                   Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
             02 - Pleading - review/edit 2nd amended complaint
                                                                      11 - Correspondence/
07-09-2020   Approved                            Billable                                    Monteverde, Juan                      0.500      875.00              437.50
                                                                      Communications
             11 - Correspondence/Communications w client Brown re 2nd am compl and send draft
                                                                      11 - Correspondence/
07-10-2020   Approved                            Billable                                    Monteverde, Juan                      0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications w Ron B re 2nd mtd schedule, confer internally and approve
07-10-2020   Approved                            Billable             02 - Pleading          Monteverde, Juan                      1.200      875.00            1,050.00
             02 - Pleading - finalize/approve filing 2nd am compl
07-14-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      0.300      875.00              262.50
             05 - Motion - review stip for 2nd mtd and approve
08-04-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      0.300      875.00              262.50
             05 - Motion - confer and agree to extend page limit for 2nd mtd
08-25-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      6.000      875.00            5,250.00
             05 - Motion - review/annotate 2nd mtd
08-26-2020   Approved                            Billable             15 - Research          Monteverde, Juan                      4.600      875.00            4,025.00
             15 - Research - review cases cited re subjective and objective falsity
08-26-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      3.600      875.00            3,150.00
             05 - Motion - review and annotate 2nd mtd brief
08-27-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      8.000      875.00            7,000.00
             05 - Motion - outline for 2nd mtd
08-28-2020   Approved                            Billable             15 - Research          Monteverde, Juan                      4.000      875.00            3,500.00
             15 - Research cases in 2nd mtd
09-25-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      2.800      875.00            2,450.00
             05 - Motion - discuss w Miles and compare outlines for 2nd mtd
09-30-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      5.200      875.00            4,550.00
             05 - Motion - review/edit/discuss draft opp to 2nd mtd
10-02-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      2.700      875.00            2,362.50
             05 - Motion - edit subjective falsity in 2nd mtd
10-05-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      3.500      875.00            3,062.50
             05 - Motion - edit opp to 2nd MTD
10-06-2020   Approved                            Billable             15 - Research          Monteverde, Juan                      3.900      875.00            3,412.50
             15 - Research - review cases re 2nd mtd opp
10-06-2020   Approved                            Billable             05 - Motion            Monteverde, Juan                      5.200      875.00            4,550.00

03-21-2022 16:00:15                                                                                                                          Page        12     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 70 of 103
                                                                                                                                                    Professional = All (Active Only)
Time Entries                                                                                                                                         Group By Professional Group
                                                                                                                                       Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                        Task Code = All
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                                                                                                                                                 From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType          Task                           Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
             05 - Motion - review/edit opp to 2nd mtd, confer internally re growth rate and loss causation
10-07-2020   Approved                           Billable              15 - Research                  Monteverde, Juan                      2.100      875.00            1,837.50
             15 - Research re loss causaiton
10-07-2020   Approved                           Billable              05 - Motion                    Monteverde, Juan                      5.800      875.00            5,075.00
             05 - Motion - edit 2nd mtd opp draft
10-08-2020   Approved                           Billable              05 - Motion                    Monteverde, Juan                      6.500      875.00            5,687.50
             05 - Motion - review and further edits to opp 2nd mtd
10-09-2020   Approved                           Billable              05 - Motion                    Monteverde, Juan                      4.500      875.00            3,937.50
             05 - Motion - review Ocera opinion and suppl auth re same
11-03-2020   Approved                           Billable              05 - Motion                    Monteverde, Juan                      7.500      875.00            6,562.50
             05 - Motion - review and annotate reply for 2nd mtd and identify issues for oral argument
11-03-2020   Approved                           Billable              05 - Motion                    Monteverde, Juan                      1.500      875.00            1,312.50
             05 - Motion - review/edit motion to exclude/strike def dec, confer internally
11-04-2020   Approved                           Billable              05 - Motion                    Monteverde, Juan                      1.500      875.00            1,312.50
             05 - Motion - review/discuss suppl authority re ocera
01-12-2021   Approved                           Billable              05 - Motion                    Monteverde, Juan                      1.000      875.00              875.00
             05 - Motion - review R&R re 2nd mtd
01-12-2021   Approved                           Billable              05 - Motion                    Monteverde, Juan                      2.500      875.00            2,187.50
             05 - Motion - review R&R and discuss internally victory re 2nd mtd and next steps
01-12-2021   Approved                           Billable              05 - Motion                    Monteverde, Juan                      0.200      875.00              175.00
             05 - Motion for phv for JEM
                                                                      11 - Correspondence/
01-12-2021   Approved                           Billable                                             Monteverde, Juan                      0.200      875.00              175.00
                                                                      Communications
             11 - Correspondence/Communications w client re R&R in our favor re 2nd mtd
01-26-2021   Approved                           Billable              05 - Motion                    Monteverde, Juan                      2.100      875.00            1,837.50
             05 - Motion - review objections to R&R re 2nd mtd
01-26-2021   Approved                           Billable              05 - Motion                    Monteverde, Juan                      0.500      875.00              437.50
             05 - Motion - review local rules and inform defs to re-notice objections for R&R
                                                                      11 - Correspondence/
01-27-2021   Approved                           Billable                                             Monteverde, Juan                      0.500      875.00              437.50
                                                                      Communications
             11 - Correspondence/Communications internally re objections to R&R and press inquiry
02-10-2021   Approved                           Billable              15 - Research                  Monteverde, Juan                      3.000      875.00            2,625.00
             15 - Research re obj to R&R and response
02-11-2021   Approved                           Billable              05 - Motion                    Monteverde, Juan                      7.200      875.00            6,300.00

03-21-2022 16:00:15                                                                                                                                  Page        13     of      27
                                      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 71 of 103
                                                                                                                                                 Professional = All (Active Only)
Time Entries                                                                                                                                      Group By Professional Group
                                                                                                                                    Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                     Task Code = All
                                                                                                                                                                 View = Original
                                                                                                                                              From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType          Task                        Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
             05 - Motion - review/edit resp objections to R&R for 2nd mtd
02-19-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      3.000      875.00            2,625.00
             05 - Motion - review and annotate reply to obj to R&R
04-22-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      2.500      875.00            2,187.50
             05 - Motion - review and confer internally re order denying 2nd mtd
                                                                      11 - Correspondence/
04-22-2021   Approved                           Billable                                          Monteverde, Juan                      0.500      875.00              437.50
                                                                      Communications
             11 - Correspondence/Communications w client Brown re mtd win
05-07-2021   Approved                           Billable              12 - Analyze and review     Monteverde, Juan                      6.500      875.00            5,687.50
             12 - Analyze and review defs request for interlocutory appeal, research same and discuss internally
05-12-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      3.400      875.00            2,975.00
             05 - Motion - review/edit resp to interlocutory appeal
05-16-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      2.000      875.00            1,750.00
             05 - Motion - edit resp to inter. appeal
05-17-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      8.000      875.00            7,000.00
             05 - Motion - review/edit/confer re interlocutory appeal response
05-21-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      1.800      875.00            1,575.00
             05 - Motion - review defs reply for inter appeal
06-09-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      1.000      875.00              875.00
             05 - Motion - review order re R&R to certify appeal
06-10-2021   Approved                           Billable              14 - Meeting/Strategy       Monteverde, Juan                      0.500      875.00              437.50
             14 - Meeting/Strategy - certified inter appeal R&R
06-22-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      3.500      875.00            3,062.50
             05 - Motion edit/review/confer re obj to R&R re appeal
08-06-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      2.000      875.00            1,750.00
             05 - Motion - review order adopting R&R for appeal and discuss internally
08-17-2021   Approved                           Billable              05 - Motion                 Monteverde, Juan                      0.500      875.00              437.50
             05 - Motion re extension for appeal and confer internally
                                                                      11 - Correspondence/
08-26-2021   Approved                           Billable                                          Monteverde, Juan                      0.500      875.00              437.50
                                                                      Communications
             11 - Correspondence/Communications w Ron B re case and request to dismiss
                                                                      11 - Correspondence/
08-30-2021   Approved                           Billable                                          Monteverde, Juan                      0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications w Ron B re follow up call re case


03-21-2022 16:00:15                                                                                                                               Page        14     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 72 of 103
                                                                                                                                                Professional = All (Active Only)
Time Entries                                                                                                                                     Group By Professional Group
                                                                                                                                   Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                    Task Code = All
                                                                                                                                                                View = Original
                                                                                                                                             From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType         Task                        Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
                                                                     11 - Correspondence/
09-01-2021   Approved                           Billable                                         Monteverde, Juan                      1.000      875.00              875.00
                                                                     Communications
             11 - Correspondence/Communications - prep and confer w Ron B re potential settlement
                                                                     11 - Correspondence/
09-03-2021   Approved                           Billable                                         Monteverde, Juan                      0.700      875.00              612.50
                                                                     Communications
             11 - Correspondence/Communications w Bill Jeffers re damages
09-03-2021   Approved                           Billable             12 - Analyze and review     Monteverde, Juan                      8.000      875.00            7,000.00
             12 - Analyze and review documents re potential damages and provide to expert w relevant pleadings
09-07-2021   Approved                           Billable             16 - Appeal                 Monteverde, Juan                      8.500      875.00            7,437.50
             16 - Appeal - research and outline for inter appeal brief
09-08-2021   Approved                           Billable             16 - Appeal                 Monteverde, Juan                      6.200      875.00            5,425.00
             16 - Appeal - edit opp brief
09-08-2021   Approved                           Billable             13 - Experts                Monteverde, Juan                      5.500      875.00            4,812.50
             13 - Experts - review expert preliminary report re damages
09-09-2021   Approved                           Billable             09 - Settlement/Mediation   Monteverde, Juan                      8.000      875.00            7,000.00
             09 - Settlement/Mediation- evaluate expert damages and potential resolution
09-09-2021   Approved                           Billable             16 - Appeal                 Monteverde, Juan                      2.000      875.00            1,750.00
             16 - Appeal - review/finalize opp brief
                                                                     11 - Correspondence/
09-10-2021   Approved                           Billable                                         Monteverde, Juan                      2.500      875.00            2,187.50
                                                                     Communications
             11 - Correspondence/Communications - prep for call and discuss w Ron B potential resolution
                                                                     11 - Correspondence/
09-16-2021   Approved                           Billable                                         Monteverde, Juan                      0.300      875.00              262.50
                                                                     Communications
             11 - Correspondence/Communications w Ron B re follow up call on Friday
                                                                     11 - Correspondence/
09-17-2021   Approved                           Billable                                         Monteverde, Juan                      1.200      875.00            1,050.00
                                                                     Communications
             11 - Correspondence/Communications - prep and confer w Ron B re settlement
09-20-2021   Approved                           Billable             15 - Research               Monteverde, Juan                      2.400      875.00            2,100.00
             15 - Research re outstanding shares and potential settlement structure
                                                                     11 - Correspondence/
09-20-2021   Approved                           Billable                                         Monteverde, Juan                      0.500      875.00              437.50
                                                                     Communications
             11 - Correspondence/Communications to Ron B re settlement and share count
                                                                     11 - Correspondence/
09-21-2021   Approved                           Billable                                         Monteverde, Juan                      0.500      875.00              437.50
                                                                     Communications
             11 - Correspondence/Communications - prep and chat w Ron B re settlement


03-21-2022 16:00:15                                                                                                                              Page        15     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 73 of 103
                                                                                                                                                     Professional = All (Active Only)
Time Entries                                                                                                                                          Group By Professional Group
                                                                                                                                        Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                         Task Code = All
                                                                                                                                                                     View = Original
                                                                                                                                                  From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType         Task                             Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
                                                                     11 - Correspondence/
09-27-2021   Approved                           Billable                                              Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications w Ron B re setting up call
                                                                     11 - Correspondence/
09-28-2021   Approved                           Billable                                              Monteverde, Juan                      0.400      875.00              350.00
                                                                     Communications
             11 - Correspondence/Communications w Ron B re settlement
                                                                     11 - Correspondence/
09-29-2021   Approved                           Billable                                              Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications email and call w Ron B
                                                                     11 - Correspondence/
09-30-2021   Approved                           Billable                                              Monteverde, Juan                      0.600      875.00              525.00
                                                                     Communications
             11 - Correspondence/Communications - prep and chat w Ron B re data points and settlement range
                                                                     11 - Correspondence/
10-04-2021   Approved                           Billable                                              Monteverde, Juan                      0.500      875.00              437.50
                                                                     Communications
             11 - Correspondence/Communications follow up emails re settlement and call
10-06-2021   Approved                           Billable             13 - Experts                     Monteverde, Juan                      0.500      875.00              437.50
             13 - Experts - follow up call re settlement
                                                                     11 - Correspondence/
10-07-2021   Approved                           Billable                                              Monteverde, Juan                      0.300      875.00              262.50
                                                                     Communications
             11 - Correspondence/Communications w re potential settlement
                                                                     11 - Correspondence/
10-12-2021   Approved                           Billable                                              Monteverde, Juan                      0.500      875.00              437.50
                                                                     Communications
             11 - Correspondence/Communications - prep and call w Ron B re settlement
10-12-2021   Approved                           Billable             09 - Settlement/Mediation        Monteverde, Juan                      3.200      875.00            2,800.00
             09 - Settlement/Mediation - confer internally and client re settlement and edit draft term sheet
10-12-2021   Approved                           Billable             16 - Appeal                      Monteverde, Juan                      0.500      875.00              437.50
             16 - Appeal - review order granting inter appeal leave and confer internally re settlement
                                                                     11 - Correspondence/
10-15-2021   Approved                           Billable                                              Monteverde, Juan                      0.400      875.00              350.00
                                                                     Communications
             11 - Correspondence/Communications w client re settlement and status and appeal issue
10-19-2021   Approved                           Billable             09 - Settlement/Mediation        Monteverde, Juan                      0.300      875.00              262.50
             09 - Settlement/Mediation - confer w defs settlement documents plan
10-20-2021   Approved                           Billable             09 - Settlement/Mediation        Monteverde, Juan                      2.500      875.00            2,187.50
             09 - Settlement/Mediation - calls and emails w class admin co asking for bids
                                                                     11 - Correspondence/
10-21-2021   Approved                           Billable                                              Monteverde, Juan                      1.200      875.00            1,050.00
                                                                     Communications
03-21-2022 16:00:15                                                                                                                                   Page        16     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 74 of 103
                                                                                                                                                   Professional = All (Active Only)
Time Entries                                                                                                                                        Group By Professional Group
                                                                                                                                      Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                       Task Code = All
                                                                                                                                                                   View = Original
                                                                                                                                                From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType         Task                           Professional       Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
             11 - Correspondence/Communications w various class admin co to provide docs for bids
10-25-2021   Approved                           Billable             16 - Appeal                    Monteverde, Juan                      0.500      875.00              437.50
             16 - Appeal - confer w Ron B and review stay request
10-26-2021   Approved                           Billable             12 - Analyze and review        Monteverde, Juan                      0.600      875.00              525.00
             12 - Analyze and review appeal order and deadlines, confer re procedure re settlement
10-29-2021   Approved                           Billable             05 - Motion                    Monteverde, Juan                      2.000      875.00            1,750.00
             05 - Motion - review/edit prel app brief
10-29-2021   Approved                           Billable             16 - Appeal                    Monteverde, Juan                      0.300      875.00              262.50
             16 - Appeal - communications w 9th cir mediator
                                                                     11 - Correspondence/
10-29-2021   Approved                           Billable                                            Monteverde, Juan                      1.000      875.00              875.00
                                                                     Communications
             11 - Correspondence/Communications - various emails and discussions re 9th cir mediator and next steps
11-01-2021   Approved                           Billable             12 - Analyze and review        Monteverde, Juan                      1.800      875.00            1,575.00
             12 - Analyze and review class admin bids
11-01-2021   Approved                           Billable             09 - Settlement/Mediation      Monteverde, Juan                      2.800      875.00            2,450.00
             09 - Settlement/Mediation - edit stip of settlement
11-02-2021   Approved                           Billable             16 - Appeal                    Monteverde, Juan                      0.200      875.00              175.00
             16 - Appeal - review order staying appeal
                                                                     11 - Correspondence/
11-09-2021   Approved                           Billable                                            Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications w Ron B re stip of sett
                                                                     11 - Correspondence/
11-11-2021   Approved                           Billable                                            Monteverde, Juan                      0.200      875.00              175.00
                                                                     Communications
             11 - Correspondence/Communications emails re status of stip
11-12-2021   Approved                           Billable             09 - Settlement/Mediation      Monteverde, Juan                      1.000      875.00              875.00
             09 - Settlement/Mediation - review and confer re edits to stip
                                                                     11 - Correspondence/
11-12-2021   Approved                           Billable                                            Monteverde, Juan                      0.300      875.00              262.50
                                                                     Communications
             11 - Correspondence/Communications emails w Ron B re opt out limit
11-15-2021   Approved                           Billable             09 - Settlement/Mediation      Monteverde, Juan                      0.300      875.00              262.50
             09 - Settlement/Mediation - chat w Ron B re opt out limits
11-16-2021   Approved                           Billable             09 - Settlement/Mediation      Monteverde, Juan                      0.300      875.00              262.50
             09 - Settlement/Mediation - finalize opt out limit w Ron B and update side agreement
11-17-2021   Approved                           Billable             09 - Settlement/Mediation      Monteverde, Juan                      2.500      875.00            2,187.50
             09 - Settlement/Mediation - review of stip and exs

03-21-2022 16:00:15                                                                                                                                 Page        17     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 75 of 103
                                                                                                                                                               Professional = All (Active Only)
Time Entries                                                                                                                                                    Group By Professional Group
                                                                                                                                                  Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                   Task Code = All
                                                                                                                                                                               View = Original
                                                                                                                                                            From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType          Task                          Professional                   Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
11-30-2021   Approved                           Billable              09 - Settlement/Mediation     Monteverde, Juan                                  2.000      875.00            1,750.00
             09 - Settlement/Mediation - finalize settlement stip and brief for prel app
                                                                      11 - Correspondence/
11-30-2021   Approved                           Billable                                            Monteverde, Juan                                  0.600      875.00              525.00
                                                                      Communications
             11 - Correspondence/Communications - various emails re filling papers for settlement
12-15-2021   Approved                           Billable              09 - Settlement/Mediation     Monteverde, Juan                                  1.000      875.00              875.00
             09 - Settlement/Mediation - set up class admin portal and papers for it
                                                                      11 - Correspondence/
12-22-2021   Approved                           Billable                                            Monteverde, Juan                                  0.200      875.00              175.00
                                                                      Communications
             11 - Correspondence/Communications - follow w Rossella re prel order status
                                                                      11 - Correspondence/
01-04-2022   Approved                           Billable                                            Monteverde, Juan                                  0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications - review prel order and contact chambers to follow re status
01-07-2022   Approved                           Billable              09 - Settlement/Mediation     Monteverde, Juan                                  0.500      875.00              437.50
             09 - Settlement/Mediation - review order for prel app and discuss internally re date issues and send to class admin
                                                                      11 - Correspondence/
01-07-2022   Approved                           Billable                                            Monteverde, Juan                                  0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications - contact chambers to correct date issues in prel app order
                                                                      11 - Correspondence/
01-10-2022   Approved                           Billable                                            Monteverde, Juan                                  0.500      875.00              437.50
                                                                      Communications
             11 - Correspondence/Communications w class admin re settlement deadlines and website
01-11-2022   Approved                           Billable              12 - Analyze and review       Monteverde, Juan                                  0.200      875.00              175.00
             12 - Analyze and review updated prel app order
01-12-2022   Approved                           Billable              09 - Settlement/Mediation     Monteverde, Juan                                  1.200      875.00            1,050.00
             09 - Settlement/Mediation - calls and emails re status and class admin set up for notice to class
01-18-2022   Approved                           Billable              09 - Settlement/Mediation     Monteverde, Juan                                  0.500      875.00              437.50
             09 - Settlement/Mediation - follow up w chambers re hearing time for final approval and emails w class admin re same and web
             updates
01-19-2022   Approved                           Billable              12 - Analyze and review       Monteverde, Juan                                  0.100      875.00                 87.50
             12 - Analyze and review docket entry adjourning final hearing
                                                                      11 - Correspondence/
01-19-2022   Approved                           Billable                                            Monteverde, Juan                                  0.300      875.00              262.50
                                                                      Communications
             11 - Correspondence/Communications internally and w class admin re new hearing for final app and update website/notice
01-25-2022   Approved                           Billable              12 - Analyze and review       Monteverde, Juan                                  1.000      875.00              875.00
             12 - Analyze and review SPR report, discuss w RG2


03-21-2022 16:00:15                                                                                                                                             Page        18     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 76 of 103
                                                                                                                                                                      Professional = All (Active Only)
Time Entries                                                                                                                                                           Group By Professional Group
                                                                                                                                                         Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                          Task Code = All
                                                                                                                                                                                      View = Original
                                                                                                                                                                   From 04-01-2019 To 03-21-2022
Date         Status         Approval               BillableType       Task                            Professional                    Start   Stop       Duration          Rate           Amount
Papa Murphy's
Merger
Monteverde, Juan
01-26-2022   Approved                              Billable           09 - Settlement/Mediation       Monteverde, Juan                                       1.500      875.00            1,312.50
             09 - Settlement/Mediation - review/edit web portal
01-28-2022   Approved                              Billable           09 - Settlement/Mediation       Monteverde, Juan                                       0.500      875.00              437.50
             09 - Settlement/Mediation update/review summary notice and issue
03-07-2022   Approved                              Billable           05 - Motion                     Monteverde, Juan                                       3.500      875.00            3,062.50
             05 - Motion for settlement edits
03-08-2022   Approved                              Billable           10 - Fee Petition               Monteverde, Juan                                       3.800      875.00            3,325.00
             10 - Fee Petition - edit fee motion
03-17-2022   Approved                              Billable           05 - Motion                     Monteverde, Juan                                       4.800      875.00            4,200.00
             05 - Motion - edit final approval and fee brief
03-19-2022   Approved                              Billable           05 - Motion                     Monteverde, Juan                                       1.500      875.00            1,312.50
             05 - Motion - review/edit declarations ISO of settlement approval
03-21-2022   Approved                              Billable           05 - Motion                     Monteverde, Juan                                       1.000      875.00              875.00
             05 - Motion - final review/edit briefs iso of settlement and fees
                                                                                                                                Professional Total        476.100                       416,587.50
Scarpa, Rossella
10-19-2021   Approved                              Billable           09 - Settlement/Mediation       Scarpa, Rossella                                       7.000      475.00            3,325.00
             09 - Settlement/Mediation - started drafting the stipulation of settlement.
10-20-2021   Approved                              Billable           09 - Settlement/Mediation       Scarpa, Rossella                                       7.000      475.00            3,325.00
             09 - Settlement/Mediation - continued working on the stipulation of settlement and the supplemental agreement to the stipulation.
10-21-2021   Approved                              Billable           09 - Settlement/Mediation       Scarpa, Rossella                                       7.500      475.00            3,562.50
             09 - Settlement/Mediation - drafted the exhibits to the stipulation, did research on judge's approval of class action settlements and did
             same research generally in the Washington district courts.
10-22-2021   Approved                              Billable           09 - Settlement/Mediation       Scarpa, Rossella                                       6.000      475.00            2,850.00
             09 - Settlement/Mediation - made edits to the stip exhibits and sent to Miles and Juan for review.
10-25-2021   Approved                              Billable           05 - Motion                     Scarpa, Rossella                                       6.500      475.00            3,087.50
             05 - Motion - started drafting the preliminary approval brief for the proposed settlement.
10-26-2021   Approved                              Billable           05 - Motion                     Scarpa, Rossella                                       7.500      475.00            3,562.50
             05 - Motion - finished drafting the preliminary approval brief, and drafted Juan's declaration.
10-27-2021   Approved                              Billable           05 - Motion                     Scarpa, Rossella                                       4.000      475.00            1,900.00
             05 - Motion - made edits to the preliminary approval brief and Juan's declaration.
10-28-2021   Approved                              Billable           05 - Motion                     Scarpa, Rossella                                       4.500      475.00            2,137.50
             05 - Motion - made more edits to the prelim approval motion and declaration and discussed John's edits to the stip.
10-29-2021   Approved                              Billable           05 - Motion                     Scarpa, Rossella                                       2.000      475.00              950.00

03-21-2022 16:00:15                                                                                                                                                    Page        19     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 77 of 103
                                                                                                                                                                      Professional = All (Active Only)
Time Entries                                                                                                                                                           Group By Professional Group
                                                                                                                                                         Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                          Task Code = All
                                                                                                                                                                                      View = Original
                                                                                                                                                                   From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType           Task                           Professional                     Start    Stop     Duration          Rate           Amount
Papa Murphy's
Merger
Scarpa, Rossella
             05 - Motion - spoke to John about exhibits to stip and made edits. Sent John/Miles/Juan my draft of the preliminary approval brief and
             Juan's declaration for their review.
10-29-2021   Approved                           Billable               15 - Research                  Scarpa, Rossella                                       2.000      475.00              950.00
             15 - Research - did research on cy pres awards in the Western District of Washington and discussed with John.
10-29-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       0.800      475.00              380.00
             05 - Motion - reviewed John's edits to the stipulation.
11-01-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       1.500      475.00              712.50
             09 - Settlement/Mediation - continued reviewing edits for stipulation + exhibits and discussed finalization of the stip + exhibits during
             our morning meeting.
11-02-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       0.500      475.00              237.50
             05 - Motion - talked through edits of the prelim approval brief with Miles and Juan.
11-03-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       2.300      475.00            1,092.50
             05 - Motion - made further edits to the prelim approval brief and declaration.
11-08-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       0.200      475.00                 95.00
             05 - Motion - printed prelim approval brief and declaration for Juan to review and finalize.
11-12-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       0.500      475.00              237.50
             09 - Settlement/Mediation - reviewed Defendants edits to the Stip + exhibits and Supplemental Agreement.
11-15-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       0.300      475.00              142.50
             09 - Settlement/Mediation - saved defendants' edits to the Stip + exhibits to Box and accepted all of their changes.
11-15-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       0.500      475.00              237.50
             05 - Motion - discussed Juan's edits to the prelim approval motion.
11-16-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       2.000      475.00              950.00
             05 - Motion - made Juan's edits to the prelim approval brief and re-circulated to everyone.
11-17-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       4.000      475.00            1,900.00
             09 - Settlement/Mediation - made final edits to the stip + exhibits and prepared to send back to defendants for approval/execution.
11-22-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       0.300      475.00              142.50
             09 - Settlement/Mediation - reviewed Defendants' edits to the stip + exhibits.
11-24-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       1.000      475.00              475.00
             09 - Settlement/Mediation - sent defendants final versions of the stip + exhibits (i.e. along with accepting defendants changes).
11-29-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       1.000      475.00              475.00
             09 - Settlement/Mediation - finalized stip, exhibits, and supplemental agreement and sent to defendants and local counsel to sign.
11-30-2021   Approved                           Billable               09 - Settlement/Mediation      Scarpa, Rossella                                       5.000      475.00            2,375.00
             09 - Settlement/Mediation - finalized stipulation + exhibits and prepared for filing.
11-30-2021   Approved                           Billable               05 - Motion                    Scarpa, Rossella                                       4.000      475.00            1,900.00
             05 - Motion - finalized the prelim approval brief and prepared for filing.
03-21-2022 16:00:15                                                                                                                                                    Page        20     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 78 of 103
                                                                                                                                                              Professional = All (Active Only)
Time Entries                                                                                                                                                   Group By Professional Group
                                                                                                                                                 Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                  Task Code = All
                                                                                                                                                                              View = Original
                                                                                                                                                           From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType          Task                          Professional                  Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Scarpa, Rossella
                                                                      11 - Correspondence/
11-30-2021   Approved                           Billable                                            Scarpa, Rossella                                 0.500      475.00              237.50
                                                                      Communications
             11 - Correspondence/Communications - spoke to chambers regarding the proposed order.
                                                                      11 - Correspondence/
12-01-2021   Approved                           Billable                                            Scarpa, Rossella                                 1.000      475.00              475.00
                                                                      Communications
             11 - Correspondence/Communications - updated filings for prelim approval brief.
                                                                      11 - Correspondence/
12-15-2021   Approved                           Billable                                            Scarpa, Rossella                                 0.300      475.00              142.50
                                                                      Communications
             11 - Correspondence/Communications - communicated with claims administrator via email regarding notice date and sent him all
             word documents related to the prelim approval motion.
12-23-2021   Approved                           Billable              15 - Research                 Scarpa, Rossella                                 0.300      475.00              142.50
             15 - Research - looked to see if the preliminary approval order was entered and it was not.
                                                                      11 - Correspondence/
12-23-2021   Approved                           Billable                                            Scarpa, Rossella                                 0.500      475.00              237.50
                                                                      Communications
             11 - Correspondence/Communications - called chambers a couple of times to figure out status of prelim approval order.
                                                                      11 - Correspondence/
12-27-2021   Approved                           Billable                                            Scarpa, Rossella                                 0.300      475.00              142.50
                                                                      Communications
             11 - Correspondence/Communications - discussed pending prelim approval order.
01-07-2022   Approved                           Billable              05 - Motion                   Scarpa, Rossella                                 0.800      475.00              380.00
             05 - Motion - updated preliminary approval order.
                                                                      11 - Correspondence/
01-10-2022   Approved                           Billable                                            Scarpa, Rossella                                 0.500      475.00              237.50
                                                                      Communications
             11 - Correspondence/Communications - sent claims administrator documents.
01-12-2022   Approved                           Billable              09 - Settlement/Mediation     Scarpa, Rossella                                 1.000      475.00              475.00
             09 - Settlement/Mediation - made edits to the notice and proof of claim sent by the claims administrator.
01-28-2022   Approved                           Billable              09 - Settlement/Mediation     Scarpa, Rossella                                 1.000      475.00              475.00
             09 - Settlement/Mediation - made edits to summary notice, circulated to Juan, and coordinated with Casey to get it uploaded to
             PRNewswire.
01-31-2022   Approved                           Billable              05 - Motion                   Scarpa, Rossella                                 3.000      475.00            1,425.00
             05 - Motion - started working on final approval brief.
02-07-2022   Approved                           Billable              05 - Motion                   Scarpa, Rossella                                 6.500      475.00            3,087.50
             05 - Motion - finished drafting the final approval motion.
02-09-2022   Approved                           Billable              05 - Motion                   Scarpa, Rossella                                 6.000      475.00            2,850.00
             05 - Motion - made edits to final approval brief.
02-10-2022   Approved                           Billable              10 - Fee Petition             Scarpa, Rossella                                 8.000      475.00            3,800.00
             10 - Fee Petition - started drafting the fee motion.

03-21-2022 16:00:15                                                                                                                                            Page        21     of      27
                                      Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 79 of 103
                                                                                                                                                                 Professional = All (Active Only)
Time Entries                                                                                                                                                      Group By Professional Group
                                                                                                                                                    Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                     Task Code = All
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                                                                                                                                                              From 04-01-2019 To 03-21-2022
Date         Status         Approval             BillableType          Task                             Professional                 Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Scarpa, Rossella
02-11-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                7.000      475.00            3,325.00
             10 - Fee Petition - continued drafting the fee motion.
02-14-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                2.000      475.00              950.00
             05 - Motion - drafted lead plaintiff's declaration and made edits to the final approval brief.
02-14-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                3.500      475.00            1,662.50
             10 - Fee Petition - continued drafting the fee brief.
                                                                       11 - Correspondence/
02-15-2022   Approved                            Billable                                               Scarpa, Rossella                                0.300      475.00              142.50
                                                                       Communications
             11 - Correspondence/Communications - discussed Juan's edits to the client's declaration for final approval.
02-18-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                6.000      475.00            2,850.00
             10 - Fee Petition - finished drafting the fee motion.
03-03-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                8.000      475.00            3,800.00
             10 - Fee Petition - made edits to the fee brief and continued drafting Juan's declaration.
03-04-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                3.000      475.00            1,425.00
             05 - Motion - continued working on Juan's declaration for the final approval/fee brief.
03-04-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                3.000      475.00            1,425.00
             05 - Motion - made edits to the final approval brief and prepared to send to client.
03-04-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                3.000      475.00            1,425.00
             10 - Fee Petition - made final edits to the fee brief and finalized.
03-14-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                4.000      475.00            1,900.00
             05 - Motion -continued making edits to Juan's declaration for final approval and drafted local counsel's declaration.
03-15-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                1.000      475.00              475.00
             05 - Motion - reviewed Juan's declaration and Townsend's declaration with Juan, made edits, and then sent to the respective email
             chains.
03-17-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                1.000      475.00              475.00
             05 - Motion - continued editing the final approval motion.
03-17-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                1.000      475.00              475.00
             10 - Fee Petition - continued editing the fee brief.
03-18-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                2.500      475.00            1,187.50
             10 - Fee Petition - discussed edits to fee brief with Miles and made further edits.
03-18-2022   Approved                            Billable              05 - Motion                      Scarpa, Rossella                                1.000      475.00              475.00
             05 - Motion - made edits to order and final judgment for final approval brief.
03-18-2022   Approved                            Billable              10 - Fee Petition                Scarpa, Rossella                                1.000      475.00              475.00
             10 - Fee Petition - made edits to order for fee brief.


03-21-2022 16:00:15                                                                                                                                               Page        22     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 80 of 103
                                                                                                                                                                    Professional = All (Active Only)
Time Entries                                                                                                                                                         Group By Professional Group
                                                                                                                                                       Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                        Task Code = All
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                                                                                                                                                                 From 04-01-2019 To 03-21-2022
Date         Status         Approval            BillableType          Task                           Professional                    Start      Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Scarpa, Rossella
03-21-2022   Approved                           Billable              05 - Motion                    Scarpa, Rossella                                      1.500      475.00              712.50
             05 - Motion - made edits to Juan's declaration and continued finalizing the brief.
03-21-2022   Approved                           Billable              10 - Fee Petition              Scarpa, Rossella                                      2.500      475.00            1,187.50
             10 - Fee Petition - continued working on edits to the fee brief.
                                                                                                                               Professional Total       158.900                       75,477.50
Schreiner, Miles
                                                                      01 - Case Development,
05-17-2019   Approved                           Billable              Investigation and review       Schreiner, Miles                                      3.800      775.00            2,945.00
                                                                      corporate filings
             01 - Case Development, Investigation and review corporate filings
                                                                      01 - Case Development,
05-31-2019   Approved                           Billable              Investigation and review       Schreiner, Miles                                      1.800      775.00            1,395.00
                                                                      corporate filings
             01 - Case Development, Investigation and review corporate filings and meeting with john re complaint
06-03-2019   Approved                           Billable              02 - Pleading                  Schreiner, Miles                                      1.600      775.00            1,240.00
             02 - Pleading - edit complaint and meeting with john re same
08-08-2019   Approved                           Billable              14 - Meeting/Strategy          Schreiner, Miles                                      0.500      775.00              387.50
             14 - Meetings/Strategy with Rosella re lead brief
08-12-2019   Approved                           Billable              05 - Motion                    Schreiner, Miles                                      7.000      775.00            5,425.00
             05 - Motion - revise/edit lead plaintiff brief and ancillary documents and legal research re same
11-05-2019   Approved                           Billable              02 - Pleading                  Schreiner, Miles                                      0.300      775.00              232.50
             02 - Pleading review/organize source articles for complaint
11-07-2019   Approved                           Billable              02 - Pleading                  Schreiner, Miles                                      0.500      775.00              387.50
             02 - Pleading draft/revise amended complaint and review news articles and SEC filings in connection with same; research re same
             and meeting with john re same
11-08-2019   Approved                           Billable              02 - Pleading                  Schreiner, Miles                                      9.500      775.00            7,362.50
             02 - Pleading draft/revise amended complaint and review news articles and SEC filings in connection with same; research re same
             and meeting with john re same
11-12-2019   Approved                           Billable              02 - Pleading                  Schreiner, Miles                                      2.700      775.00            2,092.50
             02 - Pleading review/organize source articles for complaint
02-25-2020   Approved                           Billable              05 - Motion                    Schreiner, Miles                                      5.500      775.00            4,262.50
             05 - Motion - review/analyze defendants' motion to dismiss briefs and cases cited therein; prepare outline for opposition; legal
             research re same; talk to Juan
02-26-2020   Approved                           Billable              05 - Motion                    Schreiner, Miles                                      3.400      775.00            2,635.00
             05 - Motion - review/analyze defendants' motion to dismiss briefs and cases cited therein; prepare outline for opposition; legal
             research re same

03-21-2022 16:00:15                                                                                                                                                  Page        23     of      27
                                    Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 81 of 103
                                                                                                                                                                Professional = All (Active Only)
Time Entries                                                                                                                                                     Group By Professional Group
                                                                                                                                                   Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                    Task Code = All
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                                                                                                                                                             From 04-01-2019 To 03-21-2022
Date         Status         Approval           BillableType         Task                            Professional                    Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Schreiner, Miles
02-27-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                   7.600      775.00            5,890.00
             05 - Motion - review/analyze defendants' motion to dismiss briefs and cases cited therein; prepare outline for opposition; meeting
             with john re same
03-08-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                  12.000      775.00            9,300.00
             05 - Motion - draft/revise MTD opp brief and legal research re same
03-09-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                  15.300      775.00          11,857.50
             05 - Motion - draft/revise MTD opp brief and legal research re same
04-09-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                   2.600      775.00            2,015.00
             05 - Motion - review/analyze defendants MTD Reply brief and our MTD opp brief
04-15-2020   Approved                          Billable             12 - Analyze and review         Schreiner, Miles                                   1.000      775.00              775.00
             12 - Analyze and review mtd briefs
05-07-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                   0.500      775.00              387.50
             05 - Motion - review mtd briefs
05-20-2020   Approved                          Billable             12 - Analyze and review         Schreiner, Miles                                   2.000      775.00            1,550.00
             12 - Analyze and review R&R re mtd and legal research re FRCP 72 objections
05-21-2020   Approved                          Billable             12 - Analyze and review         Schreiner, Miles                                   1.500      775.00            1,162.50
             12 - Analyze and review - review MTD R&R and rules re objection; legal research re same; call with juan re same
06-08-2020   Approved                          Billable             14 - Meeting/Strategy           Schreiner, Miles                                   0.200      775.00              155.00
             14 - Meeting/Strategy - call with team re strategy for amended complaint
06-11-2020   Approved                          Billable             14 - Meeting/Strategy           Schreiner, Miles                                   1.800      775.00            1,395.00
             14 - Meeting/Strategy - call with juan re plan for complaint amendment
07-06-2020   Approved                          Billable             14 - Meeting/Strategy           Schreiner, Miles                                   0.500      775.00              387.50
             14 - Meeting/Strategy re amended complaint and case strategy
07-07-2020   Approved                          Billable             02 - Pleading                   Schreiner, Miles                                   4.000      775.00            3,100.00
             02 - Pleading - review/analyze SEC filings and news article and draft/revise second amended complaint; legal research re same
07-08-2020   Approved                          Billable             02 - Pleading                   Schreiner, Miles                                   8.500      775.00            6,587.50
             02 - Pleading - review/analyze SEC filings and news article and draft/revise second amended complaint; legal research re same
07-09-2020   Approved                          Billable             02 - Pleading                   Schreiner, Miles                                   5.100      775.00            3,952.50
             02 - Pleading - review/analyze SEC filings and news article and draft/revise second amended complaint; legal research re same
07-10-2020   Approved                          Billable             02 - Pleading                   Schreiner, Miles                                   3.000      775.00            2,325.00
             02 - Pleading - review/analyze SEC filings and news article and draft/revise second amended complaint; legal research re same
09-14-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                   2.500      775.00            1,937.50
             05 - Motion - review/analyze def MTD and legal research re same
09-15-2020   Approved                          Billable             05 - Motion                     Schreiner, Miles                                   2.000      775.00            1,550.00

03-21-2022 16:00:15                                                                                                                                              Page        24     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 82 of 103
                                                                                                                                                                     Professional = All (Active Only)
Time Entries                                                                                                                                                          Group By Professional Group
                                                                                                                                                        Client - Matter = Merger (Inactive Included)
Monteverde & Associates PC                                                                                                                                                         Task Code = All
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                                                                                                                                                                  From 04-01-2019 To 03-21-2022
Date         Status         Approval           BillableType          Task                            Professional                     Start   Stop      Duration          Rate           Amount
Papa Murphy's
Merger
Schreiner, Miles
             05 - Motion - review/analyze def MTD and legal research re same
09-16-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       4.000      775.00            3,100.00
             05 - Motion - review/analyze def MTD and legal research re same; draft outline for mtd opp
09-17-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       5.500      775.00            4,262.50
             05 - Motion - review/analyze def MTD and legal research re same; draft outline for mtd opp
09-18-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       1.500      775.00            1,162.50
             05 - Motion - review/analyze def MTD and legal research re same; draft outline for mtd opp
09-25-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       6.500      775.00            5,037.50
             05 - Motion - review/analyze def MTD and legal research re same; draft outline for mtd opp
09-29-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       4.600      775.00            3,565.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
09-30-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       4.300      775.00            3,332.50
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-01-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       5.000      775.00            3,875.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-03-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       3.500      775.00            2,712.50
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-04-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       7.600      775.00            5,890.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-05-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                      10.000      775.00            7,750.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-06-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                      12.000      775.00            9,300.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-07-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                      12.000      775.00            9,300.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-08-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                      10.000      775.00            7,750.00
             05 - Motion - draft/revise MTD 2 opp brief and legal research re same
10-09-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       2.100      775.00            1,627.50
             05 - Motion - draft notice of supp authority re Ocera and review local rules re same; review/analyze ocera e same
11-03-2020   Approved                          Billable              05 - Motion                     Schreiner, Miles                                       8.000      775.00            6,200.00
             05 - Motion to strike declaration def submitted in reply brief; research re same and calls with john and juan re same; emails to local e
             same
01-13-2021   Approved                          Billable              12 - Analyze and review         Schreiner, Miles                                       1.400      775.00            1,085.00
             12 - Analyze and review order re mtd and cases cited; calls with juan and john re same


03-21-2022 16:00:15                                                                                                                                                   Page        25     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 83 of 103
                                                                                                                                                                Professional = All (Active Only)
Time Entries                                                                                                                                                     Group By Professional Group
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Monteverde & Associates PC                                                                                                                                                    Task Code = All
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                                                                                                                                                             From 04-01-2019 To 03-21-2022
Date         Status         Approval           BillableType            Task                         Professional                    Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Schreiner, Miles
02-08-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   8.500      775.00            6,587.50
             05 - Motion - draft response to Def. Objections to R&R and legal research re same
02-09-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   6.600      775.00            5,115.00
             05 - Motion - draft response to Def. Objections to R&R and legal research re same
02-10-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   8.000      775.00            6,200.00
             05 - Motion - draft response to Def. Objections to R&R and legal research re same
02-11-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                  11.000      775.00            8,525.00
             05 - Motion - draft response to Def. Objections to R&R and legal research re same
04-12-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   5.000      775.00            3,875.00
             05 - Motion - draft response re def. notice re emulex and legal research re same
04-16-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   1.700      775.00            1,317.50
             05 - Motion - draft notice of supp. authority re emulex
05-07-2021   Approved                          Billable                15 - Research                Schreiner, Miles                                   2.000      775.00            1,550.00
             15 - Research re motion for leave to interlocutory appeal and review def brief re same; email with local counsel re time to respond
             and review local rules re same
05-12-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   4.400      775.00            3,410.00
             05 - Motion - draft/revise opp to def. motion for interlocutory appeal; research re same
05-13-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   8.500      775.00            6,587.50
             05 - Motion - draft/revise opp to def. motion for interlocutory appeal; research re same
05-14-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   9.000      775.00            6,975.00
             05 - Motion - draft/revise opp to def. motion for interlocutory appeal; research re same
05-17-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   9.200      775.00            7,130.00
             05 - Motion - draft/revise opp to def. motion for interlocutory appeal; research re same
06-22-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   5.100      775.00            3,952.50
             05 - Motion - draft/revise objections to R&R re interlocutory appeal and legal research re same
06-23-2021   Approved                          Billable                05 - Motion                  Schreiner, Miles                                   3.600      775.00            2,790.00
             05 - Motion - draft/revise objections to R&R re interlocutory appeal and legal research re same
08-13-2021   Approved                          Billable                15 - Research                Schreiner, Miles                                   2.500      775.00            1,937.50
             15 - Research re 1292 standards and jurisdiction issues in connection with upcoming interlocutory appeal petition
09-07-2021   Approved                          Billable                16 - Appeal                  Schreiner, Miles                                  10.400      775.00            8,060.00
             16 - Appeal - draft/revise answer in opp to petition for permission to appeal and legal research re same
09-08-2021   Approved                          Billable                16 - Appeal                  Schreiner, Miles                                  10.300      775.00            7,982.50
             16 - Appeal - draft/revise answer in opp to petition for permission to appeal and legal research re same
09-09-2021   Approved                          Billable                16 - Appeal                  Schreiner, Miles                                  10.100      775.00            7,827.50

03-21-2022 16:00:15                                                                                                                                              Page        26     of      27
                                     Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 84 of 103
                                                                                                                                                                 Professional = All (Active Only)
Time Entries                                                                                                                                                      Group By Professional Group
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Monteverde & Associates PC                                                                                                                                                     Task Code = All
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Date         Status         Approval           BillableType         Task                            Professional                     Start   Stop   Duration          Rate           Amount
Papa Murphy's
Merger
Schreiner, Miles
             16 - Appeal - draft/revise answer in opp to petition for permission to appeal and legal research re same
10-12-2021   Approved                          Billable             09 - Settlement/Mediation       Schreiner, Miles                                    2.200      775.00            1,705.00
             09 - Settlement/Mediation - review/edit draft settlement term sheet; meetings with juan re same
10-13-2021   Approved                          Billable             09 - Settlement/Mediation       Schreiner, Miles                                    0.600      775.00              465.00
             09 - Settlement/Mediation -review/edit term sheet and meetings with john and juan re same
10-18-2021   Approved                          Billable             15 - Research                   Schreiner, Miles                                    1.300      775.00            1,007.50
             15 - Research re staying of appeal to proceed with class settlement; meetings with juan re same
11-01-2021   Approved                          Billable             05 - Motion                     Schreiner, Miles                                    5.500      775.00            4,262.50
             05 - Motion - review/edit motion for preliminary approval and legal research re same
11-02-2021   Approved                          Billable             05 - Motion                     Schreiner, Miles                                    5.600      775.00            4,340.00
             05 - Motion - revise/edit preliminary approval brief and legal research re same;
11-12-2021   Approved                          Billable             09 - Settlement/Mediation       Schreiner, Miles                                    2.200      775.00            1,705.00
             09 - Settlement/Mediation - review/analyze def edit to stipulation and ancillary docs; emails with co counsel re same
01-14-2022   Approved                          Billable             09 - Settlement/Mediation       Schreiner, Miles                                    0.900      775.00              697.50
             09 - Settlement/Mediation - review/analyze notice to ensure correctness ; call with juan re same
03-15-2022   Approved                          Billable             05 - Motion                     Schreiner, Miles                                    0.400      775.00              310.00
             05 - Motion - review monteverde declaration ISO motion for final approval and fee award; discussion with juan and rossella re same
03-17-2022   Approved                          Billable             05 - Motion                     Schreiner, Miles                                    1.100      775.00              852.50
             05 - Motion - revise/edit motion for final approval of settlement and attorney's fee and service award; legal research re same and
             emails/calls with co counsel re same
03-18-2022   Approved                          Billable             05 - Motion                     Schreiner, Miles                                    4.100      775.00            3,177.50
             05 - Motion - revise/edit motion for final approval of settlement and attorney's fee and service award; legal research re same and
             emails/calls with co counsel re same
                                                                                                                              Professional Total     344.500                       266,987.50
                                                                                                                                    Matter Total    1186.900                       878,307.50
                                                                                                                                    Client Total    1186.900                       878,307.50
                                                                                                                                    Grand Total     1186.900                       878,307.50




03-21-2022 16:00:15                                                                                                                                               Page        27     of      27
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 85 of 103




          Exhibit 5
          Case
            Case
               3:19-cv-05514-BHS
                  3:17-cv-04102-RS Document
                                    Document80
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                                                       05/27/21 Page
                                                                 Page86
                                                                      1 of 4
                                                                           103




 1
     David E. Bower (SBN 119546)
 2   MONTEVERDE & ASSOCIATES PC
 3   600 Corporate Pointe, Suite 1170
     Culver City, CA 90230
 4   Tel: (213) 446-6652
     Fax: (212) 202-7880
 5   Email: dbower@monteverdelaw.com
 6
     Counsel for Lead Plaintiff Tony Plant and
 7   Lead Counsel for the Settlement Class

 8
                           UNITED STATES DISTRICT COURT
 9                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11    TONY PLANT, Individually and on Behalf         Case No. 3:17-cv-04102-RS
      of All Others Similarly Situated,
12
                           Plaintiff,
13

14                        v.

15    JAGUAR ANIMAL HEALTH, INC.,
      JAMES J. BOCHNOWSKI, LISA CONTE,
16    JOHN MICEK III, and ARI AZHIR,
17                         Defendants.
18

19
                                ORDER AWARDING
20                ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARD

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         [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARD
                                 Case No. 3:17-cv-04102-RS
            Case
              Case
                 3:19-cv-05514-BHS
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                                                                   Page87
                                                                        2 of 4
                                                                             103




 1            WHEREAS, an action pending before this Court is styled Plant v. Jaguar Animal Health,

 2 Inc., et al, Case No. 3:17-cv-04102-RS (“Action”);

 3            WHEREAS, on February 2, 2021, the Court entered an Order: (i) preliminarily approving

 4 the Settlement and the proposed forms and methods of providing Notice to the Settlement Class;

 5 (ii) provided Settlement Class Members with the opportunity to object to the proposed Settlement

 6 and Lead Plaintiff’s application of attorneys’ fees and expenses, and Service Award; and (iii)

 7 setting a final approval hearing for May 27, 2021, at 1:30 p.m. (“Preliminary Approval Order”);

 8            WHEREAS, the Court conducted a hearing on May 27, 2021 (“Settlement Fairness

 9 Hearing”) to consider, among other things: (i) whether Lead Plaintiff and Lead Counsel have

10 adequately represented the Settlement Class; (ii) whether the proposed Settlement on the terms

11 and conditions provided for in the Stipulation is fair, reasonable, and adequate, thus warranting

12 final approval; and (iii) whether the Fee and Expense Award and the Service Award is reasonable

13 and should be approved; and

14            WHEREAS, it appearing that Notice of the Settlement, Releases, and the Settlement

15 Fairness Hearing has been given in accordance with the Preliminary Approval Order; the Parties

16 having appeared by their respective attorneys of record; the Court having heard and considered

17 evidence in support of Lead Plaintiff’s request for the Fee and Expense Award and Service Award;,

18 the attorneys for the respective Parties having been heard; an opportunity to be heard having been

19 given to all other persons or entities requesting to be heard in accordance with the Preliminary

20 Approval Order; the Court having determined the Notice to the Settlement Class was adequate and

21 sufficient; the Court having found that Lead Plaintiff’s request for the Fee and Expense Award and

22 Service Award is fair, reasonable, and adequate and otherwise being fully informed in the premises

23 and good cause appearing therefore:

24            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED, as

25 follows:

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          [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARD
                                  Case No. 3:17-cv-04102-RS
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                 3:19-cv-05514-BHS
                    3:17-cv-04102-RS Document
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                                                         05/27/21 Page
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                                                                        3 of 4
                                                                             103




 1         1.      Unless otherwise defined in this Order, the capitalized terms used herein shall have

 2      the same meanings set forth in the Stipulation of Settlement dated December 29, 2020

 3      (“Stipulation”) (ECF No. 81-2).

 4         2.      The Court has jurisdiction over the subject matter of this application and all matters

 5      relating thereto, including all Settlement Class Members who have not timely and validly

 6      requested exclusion.

 7         3.      The Court hereby awards Lead Counsel Monteverde & Associates PC attorneys’

 8      fees of 1/3 of the Settlement Fund or $866,666.67, plus litigation expenses in the amount of

 9      $16,960.20, together with the interest earned thereon for the same time period and at the same

10      rate as that earned on the Settlement Fund until paid. The Court finds that the amount of fees

11      awarded is fair and reasonable under the “percentage-of-recovery” method given the

12      substantial risks of non-recovery, the time and effort involved, and the result obtained for the

13      Settlement Class. The Court additionally finds that the costs and expenses were reasonably

14      incurred in the ordinary course of prosecuting this Action and were necessary given the

15      complex nature of the Action.

16         4.      Finally, the Court approves Lead Plaintiff’s Service Award in the amount of

17      $5,000.00. This award is reasonable and justified given the time and effort expended and the

18      work performed and the active participation in the litigation and settlement processes by Lead

19      Plaintiff, as class representative on behalf of the Settlement Class; the benefit to the Settlement

20      Class due to Lead Plaintiff’s actions on their behalf; and the length of the case.

21         5.      The awarded attorneys’ fees and expenses and interest earned thereon shall

22      immediately be paid to Lead Counsel subject to the terms, conditions, and obligations of the

23      Stipulation, and in particular ¶ 6 thereof, which terms, conditions, and obligations are

24      incorporated.

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          [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARD
                                  Case No. 3:17-cv-04102-RS
          Case
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               3:19-cv-05514-BHS
                  3:17-cv-04102-RS Document
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                                                 Filed03/23/22
                                                       05/27/21 Page
                                                                 Page89
                                                                      4 of 4
                                                                           103




 1 IT IS SO ORDERED.

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           May 27, 2021
 3 Dated: ___________________         ________________________________________
                                       THE HONORABLE RICHARD SEEBORG
 4                                          CHIEF DISTRICT JUDGE
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        [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARD
                                Case No. 3:17-cv-04102-RS
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 90 of 103




        Exhibit 6
,   .   I   Case 1:18-cv-01068-RGA
                  Case 3:19-cv-05514-BHS
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                                                             03/23/22
                                                                  Page Page
                                                                       1 of 291
                                                                              PageID
                                                                                of 103#: 2093




                                       IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF DELAWARE

                                                                     Case No. I: 18-cv-0 I 068-RGA-SRF
               IN RE ENVISION HEALTHCARE CORP.
                                                                     CLASS ACTION

             This Document Relates to : ALL ACTIONS                  CONSOLIDATED STOCKHOLDER
             ________________                                  __,   LITIGATION

              [N l i ~] ORDER A WARDING ATTORNEYS' FEES AND EXPENSES AND LEAD
                                              PLAINTIFF'S SERVICE AWARD

                      WHEREAS , the Court has granted Final Approval of the Settlement in the above-captioned

              class action ;

                      WHEREAS, the Court has reviewed Lead Plaintiffs Motion for an Award of Attorneys '

              Fees and Expenses as well as a Service Award, and the Court has considered all papers filed in

              connection thereto and proceedings held on February 16, 2021;

                      NOW, THEREFORE, it is hereby ordered:

                      I.       Monteverde & Associates PC is awarded           ~ of the Settlement Fund, or
                               $_~---~ +-·{Ji
                                           ~IC(}
                                              ~---'      as attorneys ' fees in this Action, together with a
                                  I    I
                               proportionate share of the interest earned on the Settlement Fund, at the same rate

                               as earned by the balance of the Settlement Fund and, from the date of the

                               establishment of the Settlement Fund to the date of disbursement.

                      2.       Monteverde & Associates PC shall be reimbursed $       ~J '/0'/. ~            for its

                               expenses and costs from the Settlement Fund.

                      3.       Lead Plaintiff Jon Barrett is awarded $   loI   om             for time and expenses

                               incurred in representing the Class from the Settlement Fund.

                      4.       Except as otherwise provided herein, the attorneys ' fees , reimbursement of

                               expenses, and service award to Lead Plaintiff shall be paid in the manner and
~   .   .   .   Case 1:18-cv-01068-RGA
                      Case 3:19-cv-05514-BHS
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                                                                      Page Page
                                                                           2 of 292
                                                                                  PageID
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                               procedure provided for in the Stipulation.



                  Dated: t ~   fV     , 2021                         SO ORDERED:



                                                                                    CHARD G. ANDREWS
                                                                                   S DISTRICT JUDGE




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Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 93 of 103




         Exhibit 7
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 94 of 103
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 95 of 103
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 96 of 103
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 97 of 103
Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 98 of 103




          Exhibit 8
         Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 99 of 103




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 2                                            THE HONORABLE BENJAMIN H. SETTLE

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 8
                          UNITED STATES DISTRICT COURT
 9                       WESTERN DISTRICT OF WASHINGTON
10                              TACOMA DIVISION

11

12                                             Case No. 19-cv-05514-BHS
     EVAN BROWN, Individually and on Behalf
13
     of All Others Similarly Situated,
14                                            DECLARATION    OF   ROGER   M.
                              Plaintiff,      TOWNSEND IN SUPPORT OF LEAD
15                                            PLAINTIFF’S MOTION FOR FINAL
           v.                                 APPROVAL OF SETTLEMENT AND
16                                            MOTION FOR ATTORNEYS’ FEES AND
     PAPA MURPHY’S HOLDINGS, INC. and         EXPENSES AND SERVICE AWARD
17
     WELDON SPANGLER,
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                              Defendants.
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     DECLARATION OF ROGER M. TOWNSEND
     Case No. 19-cv-5514-BHS
            Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 100 of 103




 1 I, Roger M. Townsend, declare:

 2          1.      I am a member of the Bar of the State of Washington and the firm Breskin Johnson

 3 Townsend, PLLC (“BJT”), which is Liaison Counsel for Lead Plaintiff, Evan Brown (“Lead

 4 Plaintiff”) in the above-captioned action (“Action”).

 5          2.      I have personal knowledge of the facts set forth herein, and if called as a witness,

 6 could and would testify competently to these facts under oath.

 7          3.      I make this declaration in support of Lead Plaintiff’s Motion for Final Approval of

 8 Settlement and Motion for Attorneys’ Fees and Expenses and Service Award.
 9          4.      My firm was actively engaged in the prosecution of the Action on behalf of Lead
10 Plaintiff and the Settlement Class. The services undertaken by my firm in connection with this

11 Action include, but are not limited to: researching the underlying facts and the claims to be asserted

12 in the Action, reviewing and revising all pleadings and motions, and conferring with Lead Counsel,

13 Monteverde & Associates PC, regarding strategy and legal claims.

14          5.      BJT’s compensation for services rendered in the Action was wholly contingent on
15 the success of the Action. The fees described herein have not been paid from any source and have

16 not been the subject of any prior request, or prior award, in any litigation or other proceeding.

17          6.      The summary below indicates the number of hours spent by the professionals at my
18 firm on this Action, their respective hourly rates, and the resulting lodestar calculation. The

19 schedule was prepared from contemporaneous daily time records regularly prepared and

20 maintained by our firm. The hourly rates reflected in the schedule are the usual and customary

21 billing rates for our services in similar litigation.

22          7.      The following chart summarizes the work that my firm performed in the

23 prosecution of this Action, including 25.03 attorney hours representing a total lodestar of

24 $13,765.40 from May 2019 to date (billing report attached hereto as Exhibit A):

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        DECLARATION OF ROGER M. TOWNSEND
        Case No. 19-cv-5514-BHS


                                                       1
             Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 101 of 103




 1        Professional                Hours                   Rate                   Lodestar
 2   Roger M. Townsend                 25.03                  $550                  $13,765.40
 3   Total                                                                          $13,765.40
 4           8.    I declare under the penalty of perjury under the laws of the United States of America
 5 that the foregoing is true and correct.

 6            Executed on March 22, 2022
 7                                                               /s/ Roger M. Townsend
                                                                   Roger M. Townsend
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       DECLARATION OF ROGER M. TOWNSEND
       Case No. 19-cv-5514-BHS


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Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 102 of 103




          Exhibit A
                                                                Case 3:19-cv-05514-BHS Document 80 Filed 03/23/22 Page 103 of 103


         A             B                     C             D                 E                   F                                                           G                                                H         I             J
 1 Bill ID      Date                Client              Matter      Matter Description   User             Description                                                                                      Quantity Price     Total
 2         4978         5/31/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Case intake                                                                                             0.5 $550.00            $275.00
 3         4978          6/2/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Intake                                                                                                  0.3 $550.00            $165.00
 4         4978          6/4/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Intake                                                                                                  0.6 $550.00            $330.00
 5         4978          6/6/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Intake                                                                                                  1.2 $550.00            $660.00
 6         4978          6/7/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Intake                                                                                                  0.8 $550.00            $440.00
 7         4978          7/1/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   File Statement/Declaration                                                                              0.6 $550.00            $330.00
 8         4978         7/11/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on stipulation                                                                                     0.5 $550.00            $275.00
 9         4978         8/12/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Lead Plaintiff Brief                                                                                      1 $550.00            $550.00
10         4978          9/9/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on response to lead counsel appointment                                                            0.4 $550.00            $220.00
11         4978         10/1/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Finalize stipulation and conference regarding same                                                      0.6 $550.00            $330.00
12         4978         11/8/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on filing amended complaint                                                                          1 $550.00            $550.00
13         4978        12/27/2019   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review and approve unopposed motion                                                                     0.2 $550.00            $110.00
14         4978          1/3/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Emails with Juan                                                                                        0.3 $550.00            $165.00
15         4978          3/9/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Finalize and file responses to motion                                                                     3 $550.00          $1,650.00
16         4978         5/27/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Response to R&R; communications with counsel                                                            0.4 $550.00            $220.00
17         4978         7/31/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Balance Forwarded from PCLaw                                                                              1 $400.40            $400.40
18         4978          8/4/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review and approve stipulation                                                                          0.2 $550.00            $110.00
19         4978         10/8/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Opposition to MTD                                                                                       1.2 $550.00            $660.00
20         4978         10/9/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on filing supplemental authority                                                                   0.2 $550.00            $110.00
21         4978         11/3/2020   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on sur-reply                                                                                       0.8 $550.00            $440.00
22         4978         1/12/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review R&R and email counsel re same; pro hac                                                           0.6 $550.00            $330.00
23         4978         2/11/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on response to objections                                                                          3.3 $550.00          $1,815.00
24         4978         4/12/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Supplemental Authority                                                                                  0.8 $550.00            $440.00
25         4978         4/16/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Supplemental filing and discourse re Washington Securities Act                                          1.1 $550.00            $605.00
26         4978         4/22/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work with co-counsel re court order and next steps                                                      0.3 $550.00            $165.00
27         4978          5/7/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work with NY counsel on response to Papa Murphy filings for interlocutory appeal                        0.2 $550.00            $110.00
28         4978         5/17/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Support re Opposition to motion to Certify                                                              0.3 $550.00            $165.00
29         4978         6/23/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review and comment re LEAD PLAINTIFFâ€™S OBJECTIONS TO THE JUNE 9 2021 REPORT & RECOMMENDATION          0.5 $550.00            $275.00
30         4978         6/24/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review court entry                                                                                      0.2 $550.00            $110.00
31         4978          7/8/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review opposition to response to R&R re interlocutory appeal                                            0.4 $550.00            $220.00
32         4978        10/15/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on isues related to filing motion for stay; review setllement                                      0.5 $550.00            $275.00
33         4978        10/29/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   communications with opposing counsel and 9th cir mediator                                               0.4 $550.00            $220.00
34         4978        11/29/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on settlement                                                                                      0.4 $550.00            $220.00
35         4978        11/30/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Review and approve Papa Murphy stipulatoin                                                              1.1 $550.00            $605.00
36         4978         12/1/2021   Juan E Monteverde         836   Papa Murphy's        Roger Townsend   Work on stipulation of settlement and motion for preliminary approval                                   0.4 $550.00            $220.00
37                                                                                                                                                                                                                                    $13,765.40
